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                             Exhibit	  1	  




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    Neutral Citation: [2023] EWHC 1765 (TCC)


                                                 Case No: HT-2020-00334
    IN THE HIGH COURT OF JUSTICE
    BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES
    TECHNOLOGY AND CONSTRUCTION COURT (KBD)

                                                                                      Royal Courts of Justice
                                                                                             Rolls Building
                                                                                        London, EC4A 1NL

                                                                                           Date: 12/07/2023

                                                              Before :

                                              Mrs Justice O'Farrell DBE
                                              ---------------------
                                                      Between :

                                                     TOPALSSON GmbH                               Claimant

                                                               - and -

                                  ROLLS-ROYCE MOTOR CARS LIMITED                                 Defendant

                                              ---------------------
                                              ---------------------

      Terence Bergin KC, Matthew Lavy & Anna Hoffmann (instructed by Cooke, Young and
                                Keidan LLP) for the Claimant
        Alex Charlton KC & Iain Munro (instructed by Clarkslegal LLP) for the Defendant

                     Hearing dates: 5th, 6th, 10th, 11th, 12th, 13th, 17th, 18th, 19th, 20th,
                                  24th, 25th, 26th, 27th, 31st October 2022
                                       1st, 2nd and 15th November 2022
                                         ---------------------
                                            Approved Judgment
       This judgment was handed down remotely at 10.30am on Wednesday 12th July 2023 by
       circulation to the parties or their representatives by e-mail and by release to the National
                                                  Archives
                 (see eg https://www.bailii.org/ew/cases/EWCA/Civ/2022/1169.html).

                                                      .............................

                                          MRS JUSTICE O’FARRELL DBE



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    Mrs Justice O'Farrell:

    1.         This matter concerns claims and counterclaims for damages arising out of the
               termination of an agreement for the development and supply of digital twin software
               for a new car configurator.

    2.         A digital twin is a virtual model of a physical object, existing or yet to be built.
               Engineers create a computer model of an object, expressed in geometrical and
               mathematical terminology. The engineering model is converted into a visual
               representation of the object by a process known as rendering. Software development by
               written source code enables the visual models to be manipulated using the engineering
               model data to produce different configurations of the object.

    3.         The claimant (“Topalsson”) is a company incorporated in Germany, a specialist
               supplier to the automotive industry of digital twin engine (“DTE”) and configurator
               software, which allows prospective customers of an automotive manufacturer to
               configure and see photo realistic renderings of the vehicles they are considering
               purchasing.

    4.         The defendant (“RRMC”) is a wholly-owned subsidiary of BMW that manufactures
               and sells luxury motor cars.

    5.         By a services agreement dated 11 October 2019 (“the Agreement”), RRMC engaged
               Topalsson to design, build, implement and maintain digital visualisation software to
               replace its existing car configurator landscape, in order to improve its customers’
               configuring and commissioning experience by allowing real-time generation of images
               from 3D models and to support the company’s growth.

    6.         RRMC intended to use the new configurator landscape for the launch of the new Rolls-
               Royce Ghost model in Spring 2020, and thereafter for sales activities in respect of that
               model and for the configuring and ordering of other existing models.

    7.         Delays occurred to the development and supply of the software. The causes of such
               delays are disputed and each party blames the other for the same.

    8.         It is said by Topalsson that RRMC imposed on it an implementation methodology that
               was ill-suited to achieving results in the compressed timescales required, the scope of
               the project expanded and RRMC refused to agree a billing plan to provide Topalsson
               with adequate funding for the extensive work required.

    9.         It is said by RRMC that Topalsson obtained its appointment by misrepresenting its
               experience and expertise, failed to resource the project adequately, performed poorly
               and was significantly in delay by 2020. In particular, RRMC’s case is that Topalsson
               failed to achieve ‘Technical Go-Live’ for: (i) the Closed Room Configurator (“Closed
               Room”); (ii) Imagery Validation Tool, a tool used to validate imagery before release to
               the configurators (“IVT”); and (iii) Colouring System (CoSys) Replacement Imagery
               Service (“CRIS”) by the dates agreed in March 2020 (“the March Plan”).

    10.        By letter dated 16 April 2020 (“the First Termination Notice”), RRMC purported to
               terminate Topalsson’s engagement under the Agreement at common law. Topalsson
               rejected the First Termination Notice as ineffective and affirmed the Agreement.



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    11.      By letter dated 22 April 2020, without prejudice to the First Termination Notice, RRMC
             served a further notice (“the Second Termination Notice”), purporting to terminate at
             common law; alternatively, under clause 13.11.3 of the Agreement. By letters dated 1
             May 2020 and 9 June 2020, Topalsson purported to accept RRMC’s alleged repudiatory
             breach.

    12.      Topalsson ceased working on the project from the end of May 2020.

    13.      Topalsson claims damages for unlawful termination, quantified as lost profits in the
             sum of €6,420,793; alternatively, €2,420,793 in respect of work carried out and/or
             invoiced as at the date of termination as sums to which it is contractually entitled. It
             also seeks a declaration that RRMC is not entitled to make use of deliverables for which
             it has not paid and/or an order for delivery up or destruction of Topalsson’s software.

    14.      RRMC counterclaims damages flowing from the alleged repudiatory breach and
             damages for misrepresentation. It claims that it suffered loss and damage amounting to
             €20 million in respect of replacement software, lost profits and other heads of claim. It
             also seeks delivery up or destruction of software that incorporates RRMC’s confidential
             information and data.

    15.      It is common ground that there is an effective contractual limitation of liability; save
             for the misrepresentation claim, both parties’ contractual claims are capped at €5
             million by clause 20 of Section 7 of the Agreement.

    Background

    16.      In about September 2018 RRMC recognised that its current configurator technology
             was outdated and should be replaced. Although there was no fixed timeline at that stage,
             particularly because pending the outcome of the exploration phase no decision had been
             taken as to precisely what was required, the indicative internal timeline for the project
             was that it should be ready for the launch of the new Ghost Rolls-Royce model,
             including:

             i)        ‘Closed Room’ preview events for dealers, special guests and customers, which
                       were planned to take place from 13 April 2020;

             ii)       the World Dealer Conference, then planned to take place in Miami on 15 April
                       2020, where RRMC anticipated that it could showcase the new Ghost model;

             iii)      ‘Start of Communications’ for the new Ghost model, the date on which RRMC
                       would begin to communicate a new model to the general public, in the press, at
                       events and at the dealerships, from 4 May 2020;

             iv)       ‘Start of Ordering’ for the new Ghost model, the date from which orders could
                       be placed by dealers in the system, from 15 June 2020.

    17.      The RRMC Board approved a budget for the exploration phase, which took place
             between December 2018 and February 2019.

    The RFI




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    18.      On 11 April 2019, RRMC issued a Request for Information (“the ‘RFI”) for the future
             configurator landscape project to potential bidders, including Topalsson. The RFI
             contained a general description of the project, divided into thirteen delivery packages
             (“the Delivery Packages” or “DPs”), the purpose of which was to achieve the following:

                       “- Visualisation:

                                   Comprehensive, individualised, high-quality photo
                                   realistic and high-performance real-time visualisation.

                       - User experience journey:

                                   Open, organic configuration flow and intuitive user
                                   experience journey based on modular elements.

                                   Functional elements and contents should be related to
                                   individual business needs of consumers and dealers.

                       - Process integration:

                                   Streamlined, adapted and automated processes
                                   throughout the customer journey to increase efficiency.

                       These are enabled and supported by the following:

                       - System Integration and Back-End Integration:

                                   The Rolls-Royce Motor Cars configurators (online,
                                   showroom, review and ordering configurator) should be
                                   replaced.

                                   The full end-to-end integration for a seamless
                                   configuration and ordering process covers all newly
                                   provided system from front-end to configurator back-
                                   ends but also all other relevant RRMC and BMW Group
                                   back-end systems

                       - Advanced Analytics:

                                   Advanced analytics capabilities leveraging actionable
                                   insights.

                       The project scope contains the replacement of the following
                       configurator “front-ends”:

                                   • Rolls-Royce Ordering Configurator (RROC) used as
                                   the dealer-facing configurator integrated into the
                                   ordering systems

                                   • Rolls-Royce Marketing Configurator (also
                                   abbreviated RRMC) used as the customer facing
                                   configurator in the Rolls Royce website



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                                   • Rolls-Royce Offline Marketing Configurator (RRMC
                                   offline) used by dealers as a customer facing
                                   configurator in the showroom or at events

                                   • Rolls-Royce Review Configurator used by the product
                                   management team to review the results of the CoSy
                                   imagery process (Imagery Validation Tool) but also
                                   used by the Bespoke Design team to produce customer
                                   facing documentation of bespoke offers in a flexible
                                   way.”

    19.      Those responding to the RFI were required to provide a proposal for each of the
             identified Delivery Packages but were free to propose the method of delivery.

    20.      On 30 April 2019 Topalsson provided its response to the RFI, identifying that its
             selected delivery approach would be the agile development method.

    21.      In internal discussions, RRMC considered that the framework conditions for an agile
             project were not available, although an agile implementation model might be
             appropriate, and therefore decided that the tender process should be started on a classic
             waterfall model.

    Invitation to Tender (ITT)

    22.      On 21 May 2019 a formal invitation to tender (“the ITT”) was issued to potential
             bidders, including Topalsson. The ITT included a list of ‘Detailed Business
             Requirements’ that bidders would be required to deliver as defined in the Delivery
             Packages, some of which were described as optional.

    23.      The bidders were invited to provide a fixed price for all necessary activities and phases
             needed to deliver and operate the end product, including IT Design, IT implementation
             and roll out according to the BMW Group ITPM guidelines.

    24.      As set out in the ITT, RRMC was considering two potential options against which the
             bidders were invited to provide alternative prices. One option was the BMW–RRMC
             hybrid implementation scenario, whereby the software application design to be carried
             out as part of Delivery Package 2 (“DP2”) (Initial Back-End and Rule Engine) would
             deliver the integration of RRMC requirements into the existing BMW unified
             configurator platform (“UCP”), connection of its data sources to the UCP and
             integration of the RRMC rule interpreter into the UCP. Under the hybrid scenario, the
             service provider would be responsible for the delivery of DP2 but the technical
             implementation work for DP2 would be provided by third parties. The alternative
             option, which was ultimately selected, was the RRMC standalone scenario, a new
             online configurator using RRMC back-end systems. Under the standalone scenario, the
             service provider would be responsible for both the delivery of DP2 and implementation
             of the DP2 scope.

    25.      There are two principal approaches to software development projects, known as ‘agile’
             and ‘waterfall’. The agile approach involves incremental development taking place
             through an iterative process of software development by the supplier and feedback from
             the customer in ongoing cycles. The process requires a high level of collaboration and



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             interaction between the supplier and customer. This can be contrasted with the
             traditional, sequential or waterfall approach to software development, in which each
             stage of specification, software development, configuration or testing is completed
             before the next stage starts.

    26.      In respect of the delivery approach, bidders were informed in the ITT that:

                       “The working method or approach of delivery (for example:
                       agile vs. waterfall) is free to choose by the bidder as long as the
                       Business Requirements in the specified Delivery Packages are
                       met. However, the bidder must outline a quantity structure how
                       the project timeline could look like. In case an agile delivery
                       model is proposed, this should be based on the information given
                       in appendix “ITPM Agile Project Phase Approach”.

                       Nevertheless, as long as this is compliant with BMW ITPM
                       standards, the bidder is free to propose a different project
                       approach or a combined approach, considering the benefits and
                       achievements for the project (e.g. reduced timeline, flexibility in
                       delivering requirements). In that case, the bidder will be
                       requested to justify his approach, to detail the effect on
                       collaborative work with other external partners and to clearly
                       mention potential effect on risks and pitfalls. In case of
                       uncertainty on the bidder’s side to the implication of this
                       paragraph it is the bidder’s responsibility to clarify these fully
                       before submitting their fixed price offer.”

    27.      The appendix, ‘ITPM Agile Project Phase Approach’, identified mandatory artefacts to
             be produced as part of the project, including IT risk management, data protection and
             test plans. It also included the following:

                       “User Stories

                       A User Story is the central element for describing requirements.
                       It is a defined software requirement in plain language. The User
                       Story is deliberately kept short and normally contains not more
                       than two sentences. User Stories are used in combination with
                       acceptance criteria for the specification of requirements. The
                       User Story is the most important method to control the agile
                       development.

                       …

                       Definition of Ready, Definition of Done

                       The DoD is a quality assurance instrument for the
                       implementation of User Stories. It describes general criteria for
                       controlling the completion of User Stories and is checked by the
                       agile team. User Stories are not fulfilled until the DoD criteria
                       are met. The DoD is the requirement of the Product Owner (and
                       the compliance requirements of the company) to the quality of



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                       the implementation. The DoD is created jointly between the agile
                       team and the Product Owner and develops together.

                       The DoR describes the entrance criteria for implement User
                       Stories in Sprints. So it is about the quality of the User Story.
                       Only if the criteria are met, the team can estimate the effort and
                       plan for the next iteration. The DoD is created jointly between
                       the agile team and the Product Owner and develops together.

                       …

                       Test Plan

                       … The current Test Plan template is valid for waterfall and agile
                       projects. The following topics need to be addressed during
                       Exploration Phase:

                       1. Test Scope, incl. test goals, test basis and test objects

                       2. Test strategy (i.e. test approach), including planned test types,
                       test levels, test automation and test data

                       3. Test schedule with milestones. ITPM mandatory topics are
                       considered and mapped to the project schedule

                       4. Estimation of test effort

                       5. Initial planning for resources, agreed with Project Lead

                       6. Acceptance criteria (as part of the test exit criteria for
                       Acceptance Test)

                       7. Responsibilities for test activities

                       8. Organisation and meetings (including collaboration with
                       interfacing partners)

                       9. Planning of test environments and test tools.”

    28.      The ITT also contained a document described as the ‘High level Project
             Roadmap/Anticipated Timeline’ (“the Implementation Plan”). The Implementation
             Plan set out the framework for the detailed planning required to be carried out as part
             of Delivery Package 1 (“DP1”). The plan identified the periods within which Delivery
             Packages needed to be delivered, which for the DPs ultimately ordered by RRMC were
             as follows:

             i)        DP1: Analysis and Alignment – production of details for project governance, a
                       refined Implementation Plan, a design concept for the configurator user
                       experience and refined business requirements – end Q3 2019;




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             ii)       DP2: Initial Back-End and Rule Engine – the core engine used to define the
                       rules for possible configurations and interface with RRMC product data – Q3
                       2019 to Q1 2020;

             iii)      DP3 Point of Sale Configurator – a configurator situated within the dealer
                       showroom or event space – Q3 2019 to end Q1 2020;

             iv)       DP4 Web Configurator – user interface and related functionality for
                       configurations over the internet, including the development of an Application
                       Programming Interface (“API”) for use by other RRMC systems – Q4 2019 to
                       Q2 2020;

             v)        DP6 Ordering Integration – to allow orders to be placed through RRMC’s order
                       management system, SAP – Q2 2020 to and Q4 2020;

             vi)       DP7 Pricing Integration – price management and price calculation functionality
                       to provide configuration specific prices to dealers in the POS Configurator and
                       to SAP – Q2 2020 to end Q3 2020;

             vii)      DP10: 3D Data Preparation – conversion of engineering models and physical
                       samples into data that was suitable for 2D and 3D imagery – Q3 2019 to Q1
                       2020; and

             viii)     DP13 Operation and Maintenance – Q3 2019 to Q4 2020 and ongoing
                       throughout the term of the Agreement.

    29.      Section 6.3 of the ITT stated:

                       “Delivery Packages are separate modules of the configurator
                       landscape that are independent from each other if not indicated
                       otherwise. As a result from the initial RFI phase we have
                       removed certain delivery packages from this ITT because they
                       seem to be not refined enough at this point in time… Other
                       delivery packages are now clearly indicated as “optional”. This
                       indicates that they are part of the offer, so maximum fixed price
                       has to be indicated. However, it remains to the discretion of
                       RRMC if and when they will be ordered.

                       …

                       Each delivery package contains a description of the outcome of
                       the delivery package and the Business Requirements, which
                       must be taken into account. The Business Requirements within
                       each Delivery Package chapter only give an initial overview of
                       the content. The relevant detailed Business Requirements for
                       each Delivery Package can be found within the document in the
                       appendix “Detailed Business Requirements mapped to Delivery
                       Packages”

                       …




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                     The scope to be considered by the service provider for each
                     Delivery Package is defined by the detailed Business
                     Requirements.

                     …

                     Each of the defined Delivery Packages must be delivered in a
                     way the result is usable by itself, with the only exception that it
                     is assumed that DP1, DP2, DP3 and DP10 are implemented first.
                     All other DPs then define additional scope on top of those DPs
                     listed above. This means that each DP will deliver a defined
                     scope of new systems and will integrate or replace existing
                     systems or parts of their functionality. The details how each DP
                     affects the systems is contained in the appendix ‘Mapping
                     Delivery Packages and Systems’…”

  30.      Section 10.4 of the ITT provided that invoicing and payments would be linked to
           progress of the project:

                     “The payment schedule will be defined based on the defined
                     milestone plan for the project (see appendix “”). This milestone
                     plan might be amended based on the initial analysis phase
                     (Delivery Package 1). Periodically incurring invoicing rates are
                     not permitted.”

  Tender

  31.      On 22 May 2019 Topalsson gave a pitch presentation to the RRMC team, supported by
           a PowerPoint presentation, the slide deck for which was provided by Topalsson as part
           of its tender response.

  32.      On 3 June 2019 Topalsson submitted its tender response to RRMC. At paragraph 1.1.1,
           it stated:

                     “Software development will follow an agile process. All feature
                     requirements will be converted into user stories and added to the
                     project backlog, which is visible to RRMC if desired. The scope
                     of the project and user stories will be fixed in DP1 alongside with
                     a story-point based estimation of efforts. As assumed any agile
                     workflow, changes to those stories are expected and accepted.
                     Additional efforts due to change requests can be handled in one
                     of two ways:

                     1. The additional effort is priced and ordered individually, based
                     on the story-point value in relation to the whole project.

                     2. A story of equal value is de-scoped, or existing stories are
                     altered to maintain the total story point value of the project.

                     Requested improvements of the software during maintenance
                     that change the initial scope agreed on after DP1 are classified



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                     as new stories and treated as described above. Defects and
                     performance issues are adjourned to in the next sprint /
                     maintenance release.”

  33.      In the DP1 Delivery Package Summary at 1.1 of the response, Topalsson stated:

                     “This delivery package lays the foundation for the whole project
                     and has a major influence on the following delivery packages. It
                     defines the execution of next steps based on the defined business
                     requirements and the to-be decided implementation scenario and
                     approach. Thus, it is not independent of but a prerequisite for all
                     other Delivery Packages, besides of DP10. Some of the
                     following delivery packages can start before DP1 is completed…

                     The assumed timeline to deliver the project as well as the
                     respective project organisation for each offered implementation
                     scenario has followed your proposal. We have fitted the project
                     organisation in your implementation timeline request. We have
                     adjusted the Pre-milestone of the POS Configurator from end of
                     December 2019 to end of October 2019.”

  34.      The programme proposed for delivery of the DPs by Topalsson was as follows:

           i)        Delivery Package 1 (Analysis and Alignment) – Sign Off by 30 September
                     2019;

           ii)       Delivery Package 3 (Point of Sale Configurator) – Go Live by 31 March 2020;

           iii)      Delivery Package 10 (3D Data Preparation for RR21 and RR22 models) –
                     published by 31 January 2020;

           iv)       Delivery Package 13 (Operation and Maintenance) – to start in the Quarter after
                     the first technical DP Go Live and ongoing;

           v)        All other DPs – to be confirmed in DP1.

  35.      Section 7 of the tender addressed the approach to quality management:

                     “Our internal QA is based on agile methodologies and relies and
                     automated testing on different levels…

                     All acceptance criteria are derived from user stories delivered by
                     the PO [Process Owner] or the customer directly, and are
                     detailed by the PO and the team before work on a user story can
                     begin. Reporting is done by automated frameworks and
                     formatted by the PO for customer review if desired.

                     In addition, the current BMW ITPM quality are adhered to and
                     will be implemented as requested in the ITT document
                     referenced on the front page.”




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  36.      The price tendered for the hybrid scenario was €15,016,019 (including options of
           €1,561,408) and for the stand-alone scenario was €12,685,082 (including options of
           €1,243,057). Following further negotiations, those tender prices were reduced and on 2
           July 2019 Topalsson submitted its best and final offer (“BAFO”) in the sum of
           €9,050,000.

  37.      In the technical assessment carried out by RRMC, Topalsson’s bid was the lowest in
           price of the three technically acceptable bids (the remaining three bids not being
           technically compliant) and was selected as the winning bidder.

  38.      By email dated 18 July 2019 Laura Clowsley, purchasing manager at BMW, notified
           Topalsson that it had been awarded the contract for the RRMC car configurator
           landscape.

  Purchase Orders

  39.      On 19 July 2019 RRMC issued a purchase order No. 4700058414 in the sum of €7,740
           (referable to a WLTP Emission Service Connection) to enable Topalsson to start work.

  40.      A further purchase order No. F3GMHIX dated 31 July 2019 was raised in the sum of
           €2,009,897 in respect of the RRMC car configurator landscape, although it was not sent
           to Topalsson until 6 September 2019.

  41.      At the end of July 2019 a draft contract was sent by RRMC to Topalsson and the parties
           entered into discussions regarding the terms and conditions of the same.

  The Agreement

  42.      The Agreement was signed by the parties on 11 October 2019, incorporating the
           following sections:

           i)        Section 1 Key Terms;

           ii)       Section 2 Services, Specification, Deliverables, Service Credits, Exit Plan and
                     Business Continuity Plan;

           iii)      Section 3 RRMC Materials;

           iv)       Section 4 Use of Confidential Data;

           v)        Section 5 Changes;

           vi)       Section 6 Definitions; and

           vii)      Section 7 General Terms.

  43.      The Agreement incorporated the ITT document:

                     “For the avoidance of doubt the Tender Document titled TE4427
                     Invitation to Tender: Future Configurator Landscape, issued on
                     21.05.2019 is also deemed incorporated into this Agreement
                     save where expressly excluded, amended or varied.”



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  44.      Clause 2.1 of Section 7 stated:

                     “This Agreement is formed of and incorporates its Sections, the
                     Tender Document and any Purchase Orders.”

  45.      Section 1 (the Key Terms) provided that the commencement date was 11 October 2019
           and the expiry date was 31 December 2024, subject to the right of either party to
           terminate for convenience on six months’ notice.

  46.      Clause 5.2 of Section 7 stated:

                     “This Agreement is for the benefit of RRMC and any relevant
                     BMW Group Companies.”

  Services

  47.      Clause 1 of Section 2 defined the services as comprising:

           i)        Supplier Software (clause 5);

           ii)       Bespoke Software (clause 6); and

           iii)      Provision of Services and Deliverables as set out in the Tender Document (the
                     ITT), to be further specified in DP1.

  48.      Clause 5 of Section 2 defined Supplier Software:

                     “Supplier Software (all of which shall be deemed to be
                     “Licenced Software” pursuant to clause 22 of Section 7 of this
                     Agreement) means all hardware and software provided by the
                     Supplier to RRMC to provide the Services including the Supplier
                     Hardware, Supplier Standard Software, Third Party Software,
                     Modified Software (Supplier), Modified Software (Third Party)
                     and Supported Software including but not limited to those listed
                     below:

                     5.1 DTE (Digital Twin Engine) Software – Version 2019 (R6)
                     …

                     5.2 TWIN Software – Version 2019 (R6) …

                     5.3 SOLOGIC Software – Version 2019 (R6) …

                     For the avoidance of doubt and notwithstanding any other
                     provision of this Agreement the Intellectual Property Rights in
                     any Supplier Software used or created by the Supplier in
                     providing the Services, including but not limited to any
                     modifications or improvements to such Supplier Software, will
                     be owned by the Supplier or any relevant third party licensor.

                     The Supplier hereby grants a non-exclusive, revocable, global
                     licence to BMW Group to use the Supplier Software for the Term



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                     for usage solely in connection with the design of Rolls Royce
                     model vehicles (and not for the avoidance of doubt for vehicles
                     in the wider BMW Group that are not branded as Rolls Royce).”

  49.      Clause 6 of Section 2 defined Bespoke Software:

                     “Bespoke Software means any software created pursuant to the
                     terms of this Agreement to be used by RRMC solely in relation
                     to RRMC products, including but not limited to those software
                     listed below:

                          •     Bespoke TWIN RRMC Plugin/extension to read RRMC
                                data

                          •     Bespoke DTE RRMC POS Plugin/extension for specific
                                RRMC POS use

                          •     Bespoke SOLOGIC RRMC Plugin/extension to read
                                RRMC data.

                     For the avoidance of doubt, and notwithstanding any other
                     provision of this Agreement, the Intellectual Property rights in
                     any Bespoke Software shall be owned by RRMC and RRMC
                     shall grant the Supplier an exclusive licence to use the Bespoke
                     Software for the purpose of providing the Services for the
                     duration of the Term of this Agreement.”

  50.      Clause 3 of Section 2 stated that the Specification and Deliverables were as set out in
           the ITT, chapter 6 and the appendices.

  51.      Deliverables were defined in Section 6 of the Agreement as:

                     “the goods or services or other things to be delivered to RRMC
                     or BMW Group as deliverables as a product of the Services, with
                     such deliverables including RRMC data and those deliverables
                     set out in Section 2 … and all documents, products and materials
                     developed by Supplier or its agents, contractors, consultants and
                     employees in relation to the provision of the Services in any
                     form, including drawings, plans, diagrams, pictures, computer
                     programs, data, reports and specifications (including drafts of the
                     same).”

  52.      Services were defined in Section 6 of the Agreement as:

                     “the Services to be provided by the Supplier under this
                     Agreement and the delivery of the Deliverables with such
                     services being specified in Section 2: Services, Specification,
                     Deliverables, Service Credits, Exit Plan and Business Continuity
                     Plan and any Additional Services.”

  53.      Clause 23 contained provisions regarding intellectual property rights:



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           i)        Clause 23.1 of Section 7 stated:

                     “All right, title and interest including all Intellectual Property
                     Rights that are legally capable of being assigned under
                     Applicable Law in and to the Deliverables and any other product
                     of the Services shall immediately upon their creation vest in
                     RRMC. Accordingly the Supplier hereby assigns to RRMC with
                     full title guarantee all such Intellectual Property Rights that the
                     Supplier has now or may have in the future throughout the world
                     to RRMC absolutely so far as possible in perpetuity.”

           ii)       Clause 23.3 of Section 7 stated:

                     “The Supplier hereby waives or it shall procure the waiver of all
                     moral rights anywhere in the world that may subsist in and to the
                     Services, the Deliverables and any other product of the Services
                     …”

           iii)      Clause 23.8 of Section 7 stated:

                     “All right, title and interest including Intellectual Property
                     Rights in and to all BMW Group background IPR, RRMC
                     materials and RRMC Data is vested in and shall remain vested
                     in BMW Group.”

  Charges

  54.      Clause 5.1 of Section 7 stated:

                     “In consideration of the Charges the Supplier shall provide the
                     Services and Deliverables throughout the term in accordance
                     with the terms of this Agreement.”

  55.      The Charges were defined in Section 6 as:

                     “the fees charges or other amounts that are payable by RRMC to
                     the Supplier for the Services with such fees and charges being
                     specified in Section 5: Charges or in any Purchase Order.”

  56.      Section 5 specified the following charges for each Delivery Package (in addition to €2
           million in respect of the optional packages):


             Package                                                              Charge (€)


             DP1: Analysis and Alignment                                              272,903


             DP2: Initial Back-end / Rule Engine                                      885,749




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             DP3: Points of Sale Configurator                                      1,314,025


             DP4: Web Configurator                                                   970,151


             DP6: Ordering integration                                               257,736


             DP7: Pricing integration                                                161,234


             DP10: 3D-Data Preparation Process                                     2,393,318


             DP13: Operation and Maintenance                                       2,794,885




  57.      Clause 14.1 of Section 7 stated:

                     “RRMC shall pay the Charges with such Charges being the only,
                     full and fixed remuneration of the Supplier for the Services.”

  58.      Clause 14.3 of Section 7 stated:

                     “The Supplier shall promptly invoice RRMC in accordance with
                     the agreed milestones set out in the Tender Document and
                     appendix…”

  59.      Section 1 (Key Terms) provided that payment terms were within 30 days of the date of
           receipt of a correct and verifiable invoice.

  60.      Clause 14.6 of Section 7 stated:

                     “RRMC shall pay the Charges Due in accordance with the
                     Payment Terms specified in the Key Terms. Unless the Parties
                     otherwise agree, [RRMC] shall pay any sums properly due to
                     [the Supplier] within thirty (30) days from the date of receipt of
                     a properly verifiable Supplier’s invoice. Unless otherwise
                     provided under this Agreement, Charges shall be payable only
                     upon acceptance by RRMC of the Services or Deliverables to
                     RRMC’s satisfaction.”

  61.      Clause 14.8 of Section 7 stated:

                     “RRMC shall be entitled to set off any Charges due to the
                     Supplier under this Agreement against any amount owed by the
                     Supplier to RRMC under this Agreement.”

  62.       Clause 14.9 of Section 7 stated:



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                     “RRMC shall be entitled to withhold payment of any Charges in
                     whole or in part without breaching this Agreement where it
                     determines that there is a dispute regarding the Services or
                     Deliverables or if any invoice is inaccurate. RRMC shall pay the
                     balance of any invoice which is not disputed by RRMC. ”

  Performance obligations

  63.      Clause 5.3 of Section 7 stated:

                     “In performing this Agreement the Supplier shall:

                     …

                     5.3.2 provide the Services and Deliverables faithfully, diligently
                     with skill and care to a standard of Good Industry Practice, the
                     BMW ITPM and any other reasonable written instructions of
                     RRMC…

                     5.3.5 allocate and apply sufficient resources …

                     5.3.7 complete the Services and deliver the Deliverables on time
                     and in full and by any applicable milestone date or delivery date,
                     if delivery dates or milestones are not specified, within or by any
                     reasonable delivery date or time period that is specified by
                     RRMC.”

  64.      Good Industry Practice was defined in Section 6 as:

                     “the exercise of skill, care prudence, diligence and foresight to a
                     standard that would ordinarily be exercised by skilled,
                     experienced and competent businesses seeking in good faith to
                     comply with their contractual obligations to provide services that
                     are of the nature of the Services and complying with Applicable
                     Laws.”

  65.      Clause 5.4 of Section 7 stated:

                     “The Supplier shall promptly notify RRMC if it is unable or
                     envisages that it may become unable for any reason to perform
                     the Services or deliver the Deliverables in accordance with this
                     Agreement providing RRMC with the reasons for such inability
                     and all other relevant information.”

  66.      Clause 5.6 of Section 7 stated:

                     “The Supplier agrees:

                     5.6.1 to deliver and install the Supplier Software at the Site(s);

                     5.6.2 to carry out, in conjunction with RRMC, the Acceptance
                     Tests; and



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                     5.6.3 to provide the Supplier Software Ready for Service by the
                     Completion Date

                     5.6.4 on the terms and conditions set out in this Agreement.”

  67.      Clause 5.8 of Section 7 stated:

                     “Time shall be of the essence regarding any date for delivery by
                     the Supplier of any good or service specified in this agreement
                     and the Completion Date.”

  68.      Clause 7.2 of Section 7 contained warranties on the part of Topalsson, including that:

                     “…7.2.2 The Services and Deliverables will conform with the
                     standard of quality and will be fit for any purpose held out by the
                     Supplier or made known to the Supplier by RRMC under this
                     Agreement.

                     7.2.3 The Services and Deliverables will be free from defects in
                     design, material and workmanship.

                     7.2.4 It has the expertise, ability and resource to provide the
                     Services and perform this Agreement … ”

  69.      Time for delivery obligations were contained in clause 13:

           i)        Clause 13.1 of Section 7:

                     “The Supplier shall deliver each Software Module to the Site(s)
                     by the applicable Software Delivery Date.”

           ii)       Clause 13.4 of Section 7:

                     “The Supplier shall deliver each software module to the Site(s)
                     on or before the Software Delivery Date for that item.”

           iii)      Software Delivery Date was defined in Section 6 of the Agreement:

                     “the estimated delivery date specified in the Implementation
                     Plan on which the Supplier will deliver a Software Module to the
                     Site(s).”

           iv)       Clause 13.5 of Section 7:

                     “The Supplier shall complete installation of each software
                     module at the Site(s) by the Installation Date for that Software
                     Module.”

           v)        Installation Date was defined in Section 6 of the Agreement:




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                     “the estimated date by which the Supplier will complete
                     installation of a specified Software Module as specified in the
                     Implementation Plan.”

           vi)       The Implementation Plan was defined in Section 6 of the Agreement:

                     “the time schedule and sequence of events for the performance
                     of this agreement set out in Section 2 and in accordance with
                     BMW ITPM.”

           vii)      Clause 8 of Section 2 was headed “Implementation Plan” and stated:

                     “Refer to Tender Document and appendices. This will be refined
                     further in DP1.”

           viii)     Clause 13.7 of Section 7:

                     “If any delivery is delayed at the request of, or because of the
                     acts or omissions of RRMC, the Implementation Plan shall be
                     amended to take account of such delay in accordance with clause
                     9.5.”

  70.      Clause 9.5 provided for performance reporting during the project:

                     “The Supplier shall produce and deliver to RRMC monthly
                     performance reports and RRMC shall review the performance of
                     the Supplier on a monthly basis against any Service Levels and
                     any Acceptance Gateways as defined in the Tender Document. ”

  Termination

  71.      Clause 13.10 of Section 7 stated:

                     “RRMC may reject any of the Deliverables which in its
                     reasonable opinion do not conform with the Specification or
                     Purchase Order or are otherwise incomplete, delivered late or
                     damaged or do not comply with the terms of this Agreement.
                     Title to the Deliverables passes to RRMC on payment.”



  72.      Clause 13.11 of Section 7 contained provisions for termination by RRMC in the event
           of Topalsson’s default:

                     “If in the reasonable opinion of RRMC the Supplier fails to
                     perform the Services in accordance with this Agreement or to
                     deliver Deliverables by the applicable delivery dates or
                     milestone dates or if RRMC rejects the Deliverables, without
                     limitation to any other of its rights or remedies, RRMC shall
                     have the following rights:

                     …



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                     13.11.3 to terminate this Agreement in whole or part with
                             immediate effect by giving written notice to the
                             Supplier;

                     13.11.4 to refuse to accept any subsequent performance of the
                             Services or Deliverables which the Supplier attempts to
                             make;

                     13.11.5 to perform the relevant Services itself or purchase
                             substitute services from a third party and recover from
                             the Supplier any loss and additional costs incurred in
                             doing so;

                     13.11.6 to have all relevant Charges associated to the specific
                             failure to supply the Deliverables or perform the
                             Services previously paid by RRMC to the Supplier
                             under this Agreement refunded by the Supplier.

                     …

                     13.11.8 to hold the Supplier accountable for any costs, loss or
                             expenses incurred by RRMC … ”

  73.      Clause 25 of Section 7 provided that either party could terminate the Agreement at its
           convenience (in whole or part) by exercising their Termination at Convenience Rights
           set out in the Key Terms, namely, six months’ prior written notice.

  74.      Clause 26.1 of Section 7 stated:

                     “Upon termination of this Agreement by RRMC for any reason:

                     26.1.1 RRMC’s sole liability shall be to pay the Supplier the
                            proportion of the Charges applicable to the Services
                            carried out prior to termination and any outstanding
                            unavoidable commitments necessarily and solely
                            incurred in performing this Agreement prior to
                            termination that are not reflected in such Charges.

                     26.1.2 … RRMC shall not be obliged to pay any Charges for
                            Services which at the date of termination RRMC is
                            entitled to reject or has already rejected.”

  75.      Clause 26.4 of Section 7 stated:

                     “Unless otherwise expressly authorised by RRMC the Supplier
                     shall cease using, return and deliver to RRMC all physical and
                     non physical property that belongs to RRMC including all
                     RRMC’s Confidential Information, RRMC Materials, all RRMC
                     Data, all RRMC Personal Data and all other documents and
                     materials and copies thereof in the possession, power, custody or
                     control of the Supplier.”




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  76.      Clause 26.6 of Section 7 stated:

                     “Upon expiry or termination of this agreement for any reason the
                     provisions of Section 6: Definitions, the following clauses of
                     Section 7: General Terms; 1 (Interpretation) … 13 (Charges
                     Payments and Expenses) … 22 (Intellectual Property Rights), 25
                     (Consequences of Termination) … 32 (Dispute Resolution
                     Procedure) … 39 (Entire Agreement) … 43 (Governing Law and
                     Jurisdiction) and any clause expressed to have effect after expiry
                     or termination of this Agreement shall continue to have effect.”

  77.      Clause 20 of Section 7 stated:

                     “…the total liability of either Party to the other under this
                     Agreement shall be limited in aggregate for all claims no matter
                     how arising to the amount of €5m (five million euros).”

  78.      Clause 40.4 of Section 7 stated:

                     “Nothing in this Clause shall limit or exclude either Party’s
                     liability for fraud or for any statements made fraudulently or
                     negligently prior to the Commencement Date.”

  Progress of the project

  79.      An initial ‘kick-off meeting’ was held at Goodwood on 6 and 7 August 2019, attended
           by representatives of RRMC, Topalsson and the Retail Performance Company
           (“RPC”). RPC is a German consultant company which was set up as a joint venture
           between BMW Intech, a subsidiary company of BMW AG, and a third-party company.
           It is not part of the BMW Group. Initially, RPC was a potential supplier for the project
           but, after responding to the RFI, it approached RRMC and asked whether there was
           another supplier with whom it might collaborate to submit a joint bid. RRMC put RPC
           in contact with Topalsson, they collaborated on the bid and RPC were appointed by
           Topalsson as its sub-contractor to manage the project.

  80.      A further workshop was held on 27 and 28 August 2019, at which responsibilities were
           allocated as between the parties and target dates set for initial tasks.

  81.      From September 2019 weekly project meetings, referred to as ‘Jour Fixe meetings’
           were held.

  82.      Delivery Package 1 (DP1) included the preparation of an overall project plan, design
           concept and business requirements based on the information contained in the
           Agreement, including the ITT. It was described in section 6.5 of the ITT as follows:

                     “This Delivery Package will lay the foundation for the whole
                     project and influence the following Delivery Packages. It defines
                     the execution of next steps based on the already defined detailed
                     Business Requirements and the decided implementation scenario
                     and implementation approach. Thus, it is not independent of but
                     a prerequisite for other Delivery Packages although some of the



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                     following delivery packages will start before DP1 is completed.
                     As part of the offer, the service providers are expected to present
                     e.g. the assumed timeline to deliver the project as well as the
                     respective project organisation for each offered implementation
                     scenario. This delivery package will refine the service provider’s
                     approach and align the RRMC and service provider project
                     organisation and project delivery model based on the selected
                     implementation scenario…

                     The delivery package creates the following deliverables:

                     • A refined roadmap and project plan aligned with RRMC and
                     BMW in case of a Hybrid scenario or stand-alone scenario (also
                     in case we only utilise the garage of UCP)

                     • Decision if VPP.Next will be re-used in the selected
                     implementation scenario

                     • The target IT landscape detailed between service provider and
                     RRMC / BMW

                     • Implications to “how” some of the business requirements are
                     delivered in the now known target landscape (no scope change
                     foreseen, but refinement of timing and approach)

                     • The setup and ramp-up of the project organisation

                     • Inclusion of first result from a BMW security requirements
                     assessment in the target IT landscape

                     • Establishment of systems access and data access as preparation
                     step for DP2

                     • Establishment of the test and development environments and
                     connections for DP2 and following DP’s

                     • Defined Roadmap and sequence for DP4 in regards to the
                     platforms/devices to release the configurator

                     • Provision of VPP hardware if hybrid scenario includes this (for
                     service provider and for RRMC) to support development and test
                     for DP3.”

  83.      The timescale for delivery of DP1 as set out in the ITT and Topalsson’s tender was 30
           September 2019. There was no refined Implementation Plan agreed by that date but
           Topalsson prepared a first draft project plan which was produced at a planning meeting
           held on 7 October 2019.

  84.      The draft plan showed the milestone dates from the Implementation Plan contained in
           the ITT and indicated that the final Roadmap / Project Plan would be produced by 31
           October 2019. However, the estimated dates for the DPs in the draft plan departed from



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           the ITT milestones and showed planned sprints leading to completion of the DPs
           significantly later in 2020.

  85.      The draft plan was not acceptable to RRMC. Ida Biot, RRMC’s Project Lead and Head
           of Process Management at BMW AG, RRMC’s parent company, was concerned that
           Topalsson should start from the agreed milestones and work backwards, setting out
           completion dates for each delivery package.

  86.      Topalsson raised its first invoice in October 2019 for €757,028, which invoice RRMC
           paid in full.

  87.      One of the issues that was discussed on a regular basis throughout the project was
           whether delivery should be in accordance with the waterfall approach (as contended by
           RRMC) or the agile approach (as contended by Topalsson).

  88.      The minutes of the meeting on 7 October 2019 recorded Ms Biot’s position that
           waterfall gateways were necessary to evaluate progress and for audit purposes:

                     “Ida summarized that for project steering and audit reasons we
                     need to commonly agree some waterfall gateways that need to
                     be shown and tracked. It does not matter whether we run the
                     actual implementation of the systems…

                     Jan suggests to put together mandatory deliverables as a
                     preparation for the planning document.

                     Kuby suggested the implementation of a Gateway. Jan supports
                     that idea.

                     Ida repeated the overall Project approach has to be waterfall as
                     the set-up was discussed with BMW before... ”

  89.      Kubilay Topal, founder and CEO of Topalsson, was of the view that an agile approach
           would be more productive. By email dated 25 November 2019 Mr Topal expressed his
           views to Ms Biot:

                     “The desire to proceed fully with the waterfall approach in this
                     project entails the following risks:

                          •     The implementation has been planned as desired on
                                Waterfall with the associated ITPM structures.

                          •     The requirements need a "released status" in order to plan
                                a valid statement about their implementation.

                          •     In the Agile implementation approach, however, this
                                would not be necessary; user stories and the tasks derived
                                from them would be sufficient here to start programming.

                          •     We see it as realistic to better meet the tight desired
                                schedule if we were allowed to work agilely here. I share




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                                your concerns about a basic waterfall approach.
                                (including those expressed by Jan today).

                     How do we fundamentally want to deal with the shift due to the
                     known issues and their effects in the whole context? (Today we
                     have presented Jan with a possible approach …)

                     How do we want to deal with the budget for 2019? (Enclosed
                     you will find a proposal that I would like to adapt together with
                     you)

                     How do we want to regulate the acceptance for 2019? We would
                     suggest linking the project plan with the payment plan…”

  The December Plan

  90.      Following further discussions, on 27 November 2019 Topalsson produced a revised
           draft plan, which was presented to RRMC at a planning meeting on 28 November 2019,
           attended by Jürgen Brzank (Chief Finance Officer of RRMC), Ms Biot, Jan-Hendrik
           Hoffmann (Manager in the Process Management Integration Team at RRMC), Mr
           Topal, Hans Mokrush (freelance Chief Finance Officer at Topalsson), Florian Reichl
           and Jens Wiedow (software developers at Topalsson).

  91.      At that meeting, Topalsson’s position was that the original plan set out in the tender
           could no longer be met, as a result of delays to the commencement of the project. It was
           necessary to divide the content between different releases and postpone the delivery
           dates for the full IVT and Content Management System (used to manage the visibility
           of the data contained within IVT) (“CMS”) so as to enable a minimum viable product
           to be delivered for RRMC’s critical business events.

  92.      The revised plan showed the following Go Live dates:

           i)        an early release of IVT/CMS by 17 February 2020;

           ii)       Closed Room configurator by 31 March 2020;

           iii)      the full Point of Sale (“POS”) configurator by 27 April 2020;

           iv)       the Web Visualiser by 18 May 2020; and

           v)        IVT final and complete POS by July 2020.

  93.      It was agreed at the meeting that, subject to verification by the parties that the revised
           implementation plan was feasible, it would be put before the RRMC Steering
           Committee for approval on 11 December 2019. Mr Brzank circulated a memo dated 28
           November 2019, recording the discussion at the meeting:

                     “The project is a waterfall fix price project set up as fixed Service
                     Agreement. The actual Software Development can proceed in an
                     agile approach, therefore a tailored Quality Plan with respective
                     ITPM Milestones will be set up by RRMC. The payment
                     schedule will have to be adapted to this tailored QA Plan.



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                     The original time plan for the deliverables as stated in the tender
                     can no longer be met. An alternative deliverable plan was
                     presented by TPLSN. The feasibility of this plan needs to be
                     checked and confirmed with all stakeholders (business, IT, third
                     parties) (TPLSN). Feasible plan needs to be presented and
                     agreed in the Steering Committee 11/12/19 (RRMC).

                     The plan seems very ambitious therefore the project needs to
                     pick up speed and the schedule needs to be very closely managed
                     and steered. Any risk are to be flagged immediately.

                     An overview of the possible alternatives with cost estimation for
                     required Dealer Infrastructure will be provided (TPLSN) and
                     presented in the Steering Committee (RRMC).

                     Business Requirements need to be discussed and fixed in order
                     to not jeopardise the plan further. Any requirements which could
                     increase the risk of late delivery have to be flagged immediately.

                     Following requirements need to be fixed with business
                     colleagues before the Steering Committee: Digital Take Home,
                     Content of visualiser (as ordered), alternative visualiser for
                     earlier SOC.

                     Adherence to BMW Group rules and regulations (e.g. ITPM, IT
                     Security) will be ensured for all contracted deliverables
                     (TPLSN). Where allowed by BMW Group rules and regulation
                     a tailored approach can be agreed (before substantial work has
                     been executed) with the Rolls-Royce project management to
                     increase efficiency and deliver solutions in time with the
                     business milestones.”

  94.      On about 6 December 2019 Topalsson produced an MS Excel version of the plan (“the
           December Plan”) and uploaded it to the Panama drive. The December Plan contained a
           detailed breakdown of the project programme and included the following further
           revised Go Live dates:

           i)        early release of IVT/ CMS by 2 March 2020;

           ii)       Closed Room configurator by 9 April 2020;

           iii)      full POS configurator by 25 May 2020;

           iv)       Web Visualiser by 16 June 2020; and

           v)        IVT final and complete POS by 17 August 2020.

  95.      Ms Biot’s evidence is that the December Plan was presented to the RRMC Steering
           Committee at the meeting on 11 December 2019 and approved by the Committee.

  96.      In her witness statement Ms Biot stated:




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                     “After the December Implementation Plan had been approved,
                     both we and Topalsson proceeded on the basis that the
                     milestones included within it were agreed, contractual and
                     binding. At no time did Kuby or anyone else from Topalsson
                     indicate to me that they had not agreed to the December
                     Implementation Plan, or that they saw it as informal or non-
                     binding. Had they done so, I would have immediately discussed
                     this with them and ensured that we had a formal agreement in
                     place.

                     The first important milestone from the December
                     Implementation Plan was to achieve the Business Proposal
                     gateway, my memory of this is confirmed by reviewing an email
                     of 12 December 2019 sent by Jan to internal colleagues from
                     RRMC and to Topalsson on that date. The Business Proposal
                     was an agreed step in the December Implementation Plan, the
                     purpose of which was to provide an overview of the project, the
                     requirements and targets of the project, its key features and
                     timelines, and any issues or risks identified, to stakeholder teams
                     within the wider business on whom the project would have some
                     impact.”

  97.      The Business Proposal dated 18 December 2019 was prepared by RRMC with
           Topalsson input. Section 3 contained a description of the Delivery Packages, including
           the following:

                     “3.1.2 Delivery Package 1:

                     Analysis and Alignment This Delivery Package will lay the
                     foundation for the whole project and influence the following
                     Delivery Packages. It defines the execution of next steps based
                     on the already defined detailed Business Requirements and the
                     decided implementation scenario and implementation approach.
                     Thus, it is not independent of but a pre-requisite for other
                     Delivery Packages although some of the following delivery
                     packages will start before DP1 is completed. The outcome of this
                     Delivery Package is a profound target picture for all relevant
                     processes, systems, and business requirements etc. of the new
                     configurator landscape delivered in the selected and aligned
                     implementation scenario.

                     Delivery Package 1 has already been conducted and this
                     Business Proposal document contains the resulting solution
                     approach for the project.

                     3.1.3 Delivery Package 2: Initial Back-End and Rule-Engine

                     This Delivery Package will lay the foundation for the work on
                     the system and process landscape. Thus, it is partially dependent
                     on the Analysis and Alignment Delivery Package 1 and a
                     prerequisite for other Delivery Packages.



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                     The package should include the development of the configurator
                     back-end and its integration into the overall configurator
                     landscape. This should include interfacing a back-end service
                     into the necessary existing BMW/RR data services (i.e. product
                     and emission data), establishing the necessary functional
                     landscape (i.e. cloud based microservices) and development of
                     the core configuration engine (i.e. data generation and rule
                     engine).

                     The goal of DP2 is to deliver the configurator back-end and rule
                     engine required to implement DP3 but not for all requirements
                     of subsequent delivery packages.

                     DP2 has to be completed before DP3 can be completed, but DP3
                     can start before DP2 has ended.

                     DP2 does includes the scope to lay the foundation of DP3 and
                     DP10, it does not contain the necessary changes required by
                     other delivery packages. In case the configurator back-end needs
                     to be extended e.g. for pricing integration or analytics, the
                     necessary configurator back-end changes are considered scope
                     of the respective delivery package.

                     …

                     3.1.4 Delivery Package 3: Point of Sale Configurator

                     This Delivery Package will lay the foundation for any
                     configuration solutions at dealerships. Thus, it is not independent
                     of but a prerequisite for other related Delivery Packages.

                     Additionally it is expected that the configurator control front-end
                     for the 3D image service will lay the foundation for all other
                     configurator front-ends from a technical and a general user
                     experience approach to maximise every possible synergy but
                     without detrimental effect to the use-case specific requirements
                     for each configurator front-end. Therefore RRMC assumes that
                     the control front-end will not be a native app but a standardised
                     web interface. The web interface needs to be able to be used via
                     a normal desktop or via a large screen tablet (IOS, Android,
                     Windows 10) depending on the actual customer situation.

                     The Point of Sale Configurator provides a configurator solution
                     for Rolls-Royce Motor Cars dealerships. It must provide the
                     functionality to fully configure a car, which must be buildable
                     and must provide high definition photorealistic vehicle imagery.
                     As basic functionality there must be the possibility to save and
                     handover the configuration to different processes (e.g. ordering
                     configurator), thus reducing the risk of lost configurations.




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                     The Point of Sale configurator must offer a superior user
                     experience in keeping with Rolls-Royce CI and brand strategy,
                     regardless of the implementation scenario. The emphasis should
                     be on an organic and flexible configuration flow, with
                     consideration of different use cases based on time availability of
                     each user.

                     The Point of Sale configurator should include a dual screen
                     approach including a fixed customer facing configurator front-
                     end, and a mobile control front-end. The control front-end,
                     should be capable of driving the customer facing configurator,
                     as well as working independently. The control front-end should
                     include an Expert mode (for dealer use), allowing access to
                     expert options/features, and a simplified navigation approach for
                     faster configuration.

                     …

                     3.1.10 Delivery Package 10: 3D-Data Preparation Process

                     This Delivery Package will lay the foundation for a new
                     visualisation engine. Thus, it is not independent of but a
                     prerequisite for the whole new configurator.

                     The 3D-Data Preparation Process provides the basis for
                     photorealistic visualisations. It must provide the functionality to
                     visualise car configurations in the highest quality standards.
                     Additionally, the specific Rolls-Royce Motor Cars flexible
                     colouring approach must be integrated.

                     Functionality is required to allow the business to validate the
                     imagery outside of the configurator. This is to ensure the imagery
                     is accurate and correctly mapped prior to releasing to the live
                     configurator. This tool is referred to as the Imagery Validation
                     Tool throughout the document.”

  98.      Section 10 of the Business Proposal incorporated the high-level programme forming
           the basis of the December Plan and the following summary:

                     “The following release schedule is foreseen for the project:

                          •     Pre-Release of Imagery Validation Tool Early Review &
                                CMS (IVT/CMS) in February 2020

                          •     Pre-Release Closed Room (Closed Room) in April 2020:
                                Configurator ready for RR2x Closed Room Event on
                                13th April 2020

                          •     Release PoS Configurator (POS) in May 2020:
                                Configurator ready for all models with RR2x SOC on 4th
                                May 2020



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                          •     Release Web Visualiser (Visualizer) in May 2020: Web
                                Visualiser ready on 25th May 2020

                          •     Release Final Imagery Validation Tool and Completion
                                of the PoS Configurator & Web Visualiser (IVT Final &
                                Completion POS/VIS) in July 2020

                          •     Release     Ordering     &     Pricing     Integration
                                (Ordering/Pricing) in November 2020.”

  99.      At the Jour Fixe meeting on 18 December 2019, it was recorded that the Business
           Proposal was available for review on Confluence. It received conditional approval by
           RRMC following a Gateway Review Meeting in January 2020, as confirmed by Mr
           Hoffmann in his email dated 22 January 2020:

                     “We are very pleased to announce that the gateway participants
                     have released the deliverables, albeit with an amber traffic
                     light…

                     We are planning to provide an updated Business Proposal
                     Document on 28/01/2020 including adjustments to the
                     comments provided during the guided review session. Most of
                     these changes have already been pre-aligned with the
                     originator…”

  100.     During this period Topalsson endeavoured to agree the basis on which payments would
           be made under the Agreement. On 5 December 2019 Hans Mokrusch of Topalsson sent
           a project and billing schedule to RRMC for discussion, stating:

                     “The plan combines the waterfall approach + ITPM artefacts
                     with the Agile Dev approach and the delivery of features +
                     releases.”

  101.     Ms Biot did not agree the proposed billing schedule on the ground that Mr Topal then
           said that he could not deliver in accordance with the project plan.

  102.     On 20 December 2019 Ms Biot and Mr Hoffmann attended a meeting at Topalsson’s
           office with Mr Topal and Mr Mokrusch to discuss delay to progress of the project. Mr
           Topal expressed his view that delay was caused by RPC’s inadequate performance, a
           view with which RRMC disagreed. Mr Topal stated that the December Plan was no
           longer feasible but agreed to provide additional staff resources for the project from
           January 2020.

  103.     Internally, Topalsson employees considered that the timetable for delivery of the
           project was too tight given their resources. Dr Reichl expressed reservations to Mr
           Wiedow as to whether the deadlines were achievable as set out in his message dated 13
           January 2020:

                     “I see some light at the end of the tunnel with the people who are
                     coming in now, but we still won’t be able to keep our promises
                     this sprint … Realistically, we would have to say that we can’t



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                     meet the deadlines and that we will have to postpone for two
                     months to give ourselves some time. So we rush from deadline
                     to deadline, deliver something that neither we nor the customer
                     are satisfied with …”

  104.     On 17 January 2020 Mr Topal held a further discussion with Ms Biot regarding the
           risks to the project and reasons for the ongoing delay. She responded:

                     “We have already sat together several times and expressed
                     concerns by RR regarding the timetable and status of
                     implementation. On 20.12 we agreed that you would set up
                     measures to bring the project forward significantly…

                     We brought up the risk that you refer to regarding User Stories
                     on the RR side repeatedly in November and December and
                     TPLSN proposed making up for the lack of DoR status during
                     the course of the sprint and that the programming can continue
                     at your risk.

                     We were assured that this is not a problem. The current statement
                     in this respect is then also surprising and not really
                     comprehensible... Unfortunately, there is no buffer anymore in
                     the timetable, so please do not wait until the problems actually
                     occur. In my opinion, pro-active management is necessary… ”

  105.     Mr Mokrusch was anxious to agree a billing timetable but on 22 January 2020 Ms Biot
           sent an email to Mr Mokrusch, stating:

                     “As discussed on 20 December and confirmed again this week
                     in a meeting with Kuby, there is no point in discussing a new
                     billing plan if we do not have an agreed and firmly promised
                     feasible delivery schedule and the deliveries then also come
                     according to plan…”

  106.     On 24 January 2020 Mr Topal raised with Ms Biot difficulties in delivering the project
           in accordance with the Implementation Plan and proposed revisions to the milestones:

                     “…based on the current desired delivery approach “Waterfall”,
                     the corresponding milestones cannot be combined with our
                     development approach “Agile”. We have to indicate that this
                     approach represents the following risk to deliver the POS
                     Configurator product to the desired Milestones…

                     We are convinced that together we can achieve RuleEngine /
                     POS Configurator / Web Visualizer to the Business Milestones
                     in a different collaboration model and approach.

                     Therefore, we propose a re-structuring workshop with you … in
                     the near future to work out and agree on appropriate measures.”

  107.     In response, Ms Biot stated:



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                     “Thank you very much for the advice and the suggestion. We are
                     currently investigating what other possibilities we have and will
                     also take into account the results of the stocktaking. Next week
                     there will be a vote on this at division head level. Could you
                     please tell us specifically which elements of the waterfall
                     approach are preventing you from achieving the milestones and
                     in what way they are preventing you or cannot be combined with
                     agile implementation?”

  108.     There was no response to this question. However, Mr Hoffmann recognised that delay
           was inevitable and expressed his opinion to Mr Wiedow that they needed to discuss
           postponing some of the functionality and find an alternative plan for delivery of the full
           solution.




  Valentinitsch Audit

  109.     In January 2020 Johann Valentinitsch, an independent consultant, was engaged to
           review the project. He produced a report (Bestandsaufnahme) dated 24 January 2020,
           which concluded that the project was not progressing smoothly, although he identified
           the limitations of the review carried out:

                     “Due to the limited time available, it was not possible to fully
                     review (analyse) all the documents provided. Possible
                     misinterpretations and misjudgments cannot therefore be ruled
                     out…

                     In addition to the above-mentioned on-site meetings, there were
                     continuous telephone consultations and web meetings with I Biot
                     and/or K Topal.

                     Interviews with the development team and POs did not take
                     place due to time constraints.”

  110.     His findings included:

                          •     “Realisation process or procedure model not explicitly
                                defined and accepted by both sides ...

                          •     No transparency for RRMC on the current development
                                status in each sprint

                          •     No agreed acceptance/presentations of functional
                                product increments

                          •     Requirements management not clearly regulated /
                                defined (solution in progress)

                          •     Sprint length of 3 weeks


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                          •     Content sprint planning is only done by Topalsson

                          •     Sprint review takes place without customer (PO)

                          •     No presentation and acceptance of the results on the
                                configurator

                          •     No participation from the PO (client side) in the Daily
                                Scrum

                          •     Organisational and administrative tasks are managed via
                                an LOP list.”

  111.     He made a number of recommendations to recover the project but warned that there
           was a high risk that the project would not be completed by April/May 2020:

                          •     “In my view, a realignment of the project organisation
                                and the process model is indispensable for the
                                completion of the overall project.

                          •     Such a change initially leads to a slower development
                                speed and thus also to a limited delivery performance.

                          •     For the implementation and establishment under the
                                current framework conditions, I estimate a time
                                expenditure of at least 6 up to 8 weekly sprints.

                          •     In addition to the time component for realignment, the
                                effort required to determine the degree of completion of
                                the overall project in advance should also not be
                                underestimated.

                          •     The risk of jeopardising the completion date in
                                April/May 2020 is therefore extremely high.

                          •     Therefore, I can only recommend and accompany a
                                reorientation if significantly more time would be
                                available for its completion.

                          •     Unfortunately, I cannot offer another alternative to the
                                previous approach and to my recommendation for
                                action.”

  112.     Ms Biot arranged a meeting with Mr Topal on 30 January 2020. In advance of the
           meeting, in an email to Ms Biot, Mr Hoffmann set out the available options for the
           project:

                     “There is only two options left as far as I understand




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                     1. Preparing the phase out and termination of the current contract
                     but safeguarding with TPLSN in a stripped down contract the
                     following:

                            a. The provision of 3d models for RR21/RR22 and current
                            models as input for an image server and other stakeholders
                            that need Imagery (marketing, type approvals etc)

                            b. The integration of a 2d image service to replace CoSy
                            for defined systems until a new project/provider is
                            established to take over

                     2. Resetting the project with the plan to continue the partnership
                     with the following objectives and premises

                            a. Objectives (objectives i-iv are to be agreed now with
                            fixed scope and fixed timing, objectives v-vii timing will
                            probably need the detailing of user stories and proper sprint
                            planning, assumed not to be possible for TPLSN in their
                            current state before end of May?

                     i. Go Live of IVT pre-release in March

                     ii. A workable solution for the closed and open rooms fulfilling
                     the RR requirements

                     iii. A possible re-use of the closed room solution for China
                     dealers

                     iv. 2D image server live and integrated in RROC for SOC in
                     early May (all models)

                     v. A first release of the PoS integrated solution rolled out
                     globally sometime during summer?

                     vi. A second release of the PoS, CMS, IVT release in autumn?
                     Catching up on the missed userstories from DP2, DP3, DP10

                     vii. A third release of the PoS,CMS integration solution for DP6,
                     DP7 preferably this year but likely to move to 2021.

                     b. Premises

                     i. The discussion about the delivery model has to stop
                     immediately, the project team works as agreed without
                     interference with the new objectives and agreed timing.

                     ii. Kuby steps back from all operative project management
                     activities…




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                     iii. An autonomous overall project manager is established by
                     TPLSN that has the authority to take all project decision as
                     needed

                     iv. The project organisation on TPLSN side is restructured to
                     deliver according to agreed approach

                     v. RRMC gets full transparency on progress of project activities
                     timely and without fighting or arguing. Endangered deadlines
                     are reported before they happen.

                     vi. Decisions are taken with RRMC and not by TPLSN trying to
                     second guess what our priorities are

                     vii. The payment plan will be based on actual delivery of the
                     objectives and will be measured based on target achievement on
                     requirements/user story level within the agreed release…”

  113.     At the meeting with Mr Topal, Ms Biot showed him a copy of Mr Valentinitsch’s report,
           although she did not give him a copy of the same. They discussed the options outlined
           by Mr Hoffmann and Mr Topal was requested to produce a revised plan for the project.

  114.     On 14 February 2020 Topalsson put forward a revised programme that would prioritise
           key deliverables but defer others beyond the dates set out in the December Plan:

                          •     “IVT Release at the beginning of March 2020

                          •     Safeguard Closed Room Release at the beginning of
                                April 2020 (Closed Room Event 15th April 2020)

                          •     Safeguard CRIS (CoSY Replacement Image Service)
                                Release at the beginning of May 2020 (SOC 4th May
                                2020) in case of a shift of the PoS Release

                          •     Provide a China Fallback solution in case of a shift of the
                                PoS Release at the latest by end of May due to the
                                decommissioning of the RRMC Offline Configurator

                          •     Show a planning scenario for a PoS solution at the
                                beginning of July 2020.”

  115.     Mr Topal put forward three alternative scenarios for consideration:

           i)        Scenario 1 - Safeguard Pre-Releases and provision of China Fallback (the basic
                     POS needed to be available for the China market to penetrate the IT firewall
                     around China). Shift of further releases based on re-evaluation of efforts and
                     complexity.

           ii)       Scenario 2 - Safeguard Pre-Releases and provision of China Fallback Shift of
                     further releases. Split-up of PoS Release and Early PoS Release including
                     Dealer Garage and SMS Integration.




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           iii)      Scenario 3 Safeguard Pre-Releases and provision of China Fallback Shift of
                     further releases. Split-up of PoS Release and Early PoS Release excluding
                     Dealer Garage and SMS Integration.

  116.     RRMC was unable to agree to the revised proposals set out in Topalsson’s February
           proposal but arranged a meeting to consider potential acceptance of late deliveries.

  The March Plan

  117.     On 4 March 2020 a meeting took place between Mr Topal, Mr Biot, Mr Poser (Chief
           Financial Officer of RRMC) and Henrik Wilhelmsmeyer (Director of Sales and Brand
           at RRMC), at which the parties discussed revised dates for Technical Go-Live of three
           key components of the solution, namely IVT, Closed Room and CRIS.

  118.     Following the meeting, by email dated 5 March 2020 Ms Biot confirmed to Mr Topal
           the revised delivery dates agreed (the March Plan):

                     “Delivery of already started products was confirmed to go ahead
                     as planned:

                     Closed Room configurator: Go live 1/4/2020…

                     IVT: Go Live 09/03/2020

                     CRIS: Go Live 23/04/2020

                     3D Imagery as planned in December to the agreed milestones
                     (plan attached).

                     Based on these milestones a proposal for a payment plan will be
                     send to you next week…

                     The new plan provided to us on 15th February cannot be accepted
                     as this deviates significantly from the compromise plan we have
                     agreed and confirmed on 11th December…

                     Measures will need to be defined to bring the deliveries forward
                     to the agreed compromise plan from 11th December. Your
                     achievement of completing these products within the milestones
                     is a condition of our ongoing contractual relationship. Following
                     successful roll-out of these products (first assessment 1st April
                     after delivery Closed Room event) we will review the future
                     milestones and deliverables of the plan and decide on the next
                     steps, adjusting where necessary and appropriate.”

  119.     Mr Topal sent an email later that day, which he confirmed in cross-examination was
           not in reply to Ms Biot’s earlier email, stating:

                     “The working method or approach of delivery (for example:
                     agile vs waterfall) is free to choose by the bidder as long as the
                     Business Requirements in the specified Delivery Packages are
                     met. However, the bidder must outline a quantity structure how



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                     the project timeline could look like. In case an agile delivery
                     model is proposed, this should be based on the information given
                     in appendix ITPM Agile Project Phase Approach…

                     Since you always get a product after each sprint in an agile way
                     of working, we can consider the output from a sprint as a fixed
                     trade. A delivery package would then be composed of the
                     individual sprints/trades.

                     There already have numerous deliveries that are a basic
                     requirement for a configurator: All 3D data, Rejections of 3D
                     data already provided to agencies; All Rolls-Royce; A
                     RuleEngine that generates a correct buildable vehicle, Complete
                     design concept for POS, Web; User stories necessary for
                     implementation …

                     We guarantee to secure and deliver: IVT, Closed Room
                     Configurator, CRIS according to the replanning plan that we sent
                     on 15 February …”

  120.     Although Mr Topal did not confirm to Ms Biot the revised dates as set out in her email,
           those dates were reflected in Topalsson’s February proposal, a presentation made by
           Ms Biot to the RRMC Board on 17 March 2020 and in Topalsson’s summary on the
           Confluence space as at 3 April 2020.

  121.     On 12 March 2020 the RRMC Board decided to maintain the planned start of
           production for the Ghost model in August 2020 but to cancel the World Dealer
           Conference event in Miami and postpone the Closed Room events to June/July 2020 as
           a result of the COVID pandemic, although it did not at that stage notify Topalsson of
           the same.

  122.     On 17 March 2020 a meeting of the RRMC Board took place at which Ms Biot made a
           presentation on the state of the project, in which she explained that the project had not
           progressed as expected, milestones had not been delivered as planned and the new plan
           did not appear to be achievable; the test for first release IVT was amber and Go-Live
           was at risk due to technical issues. The Board approved steps to implement a fall-back
           solution and decided that if Topalsson failed to meet any of the deadlines contained
           within the March plan, RRMC would have authority to terminate the Agreement.

  123.     By email dated 7 April 2020 Ms Biot notified Mr Topal that RRMC had lost confidence
           in Topalsson’s ability to deliver the project:

                     “We write further to our mail dated 5th March in which we
                     confirmed the next steps for the following weeks and informed
                     you that the achievement of those milestones was a condition for
                     our ongoing contractual relationship. We also informed you that
                     we would be reviewing progress on 1st April.

                     Despite our repeated requests, no improvement on performance
                     has been achieved and almost all milestones have been missed
                     and not delivered on time…



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                     Topalsson GmbH remains in breach of its contractual obligations
                     to deliver in accordance with the timescales required by Rolls-
                     Royce Motor Cars…

                     We have lost confidence in the ability of Topalsson GmbH to
                     deliver the project, achieve the targets, and adhere to the business
                     milestones…

                     We see 2 possible scenarios for the conclusion of the current
                     project:

                     Scenario 1 would be to stop the current project with finishing
                     DP10 activities by the end of April.

                     Scenario 2 would be to continue basically with the delivery of
                     DP10 planned for this year: Imagery including 08/20 and 12/20
                     measures as well as the IVT and the delivery of CRIS from DP4
                     by 27th April as planned…

                     We will organise a meeting to discuss and agree on the preferred
                     scenario and to discuss the financial impact …”

  124.     In a meeting on 8 April 2020, Topalsson was told to concentrate on CRIS and IVT,
           rather than Closed Room:

                     “Ida explained that 2 scenarios have been proposed to Kuby how
                     to proceed in the Project. This was planned to be discussed this
                     morning but the meeting did not take place.

                     In order to secure the feasibility of both scenarios (until a
                     decision is taken) we need to stop all activities not related to both
                     scenarios e.g. Closed Room. All manpower will be focused on
                     the Release “CRIS” and open topics from DP10 (e.g. IVT,
                     DTTE, 3D-models) to deliver these functionalities in time…”

  125.     On 8 April 2020 Mr Topal responded to Ms Biot, rejecting her criticism and the
           proposal:

                     “… we strongly disagree with your assertion that Topalsson
                     would be or has been in breach of the Service Agreement … We
                     are in no position to accept ending or freezing the contract at this
                     point and find the demand to agree on this on short notice to be
                     a calculated attempt to compel Topalsson into accepting
                     significant losses which will leave the company in a financially
                     tenuous situation. …”

  Termination

  126.     By letter dated 16 April 2020 (sent by email on 17 April 2020) RRMC served the First
           Termination Notice on Topalsson:




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                     “This is formal notice terminating the contract between Rolls -
                     Royce Motor Cars Limited (“RRMC”) and Topalsson GmbH
                     (“Topalsson” ) dated 11 October 2019, with immediate effect.

                     Due to the persistent failure by Topalsson to deliver in
                     accordance with the milestones agreed in the delivery
                     programme (proposed by Topalsson on 27th November and
                     finally accepted in the common Business Proposal) Topalsson is
                     in breach of clause 5.8.

                     “Time shall be of the essence regarding any date for delivery by
                     the Supplier of any good or service specified in this Agreement
                     and the Completion Date.”

                     Time is of the essence for performing an obligation is a condition
                     of the contract and so any failure to comply with the obligation
                     constitutes a repudiatory breach by Topalsson. The remedy at
                     common law for this breach is that RRMC has the ability to
                     terminate immediately in addition to any other remedies
                     available both in contract and at common law.

                     We request that you cease work on this contract immediately and
                     do not incur any further costs. We shall be in touch in the next
                     week to discuss the post-termination provisions, handover of
                     materials and other ongoing contractual obligations. Please
                     ensure you are available for a conference call with Laura
                     Clowsley and Ida Biot as a priority.”

  127.     By email dated 17 April 2020 Topalsson rejected the First Termination Notice as
           invalid and affirmed the Agreement:

                     “We note receipt of RRMC s letter dated 16 April 2020 (Notice)
                     purporting to terminate the contract with Topalsson. We have
                     discussed this Notice with our legal counsel. Topalsson hereby
                     formally notify RRMC that we reject the Notice, and we advise
                     RRMC that:

                     1. Topalsson consider that RRMC do not have a right to
                     terminate the contract, neither at common law as purported in the
                     Notice, nor in accordance with the contract itself;

                     2. Topalsson are not in breach of failing to deliver in accordance
                     with agreed milestones as suggested in the Notice. RRMC and
                     Topalsson have never agreed contractually or otherwise on the
                     milestones of 28 November as suggested in the Notice,
                     Topalsson are therefore not in breach of delivering to these as
                     they are not agreed;

                     3. RRMC have not validly terminated the contract per its terms,
                     and RRMC have willfully abandoned the contract and have
                     repudiated it by doing so. Any material or persistent breach that



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                     is remediable requires a notice to Topalsson and an opportunity
                     for Topalsson to remedy the breach within 30 days under clause
                     25.3.1. The breach would have to be factual and on a
                     contractually agreed deliverable by Topalsson- the 28 November
                     items are not agreed as stated in 2) above and there Topalsson
                     are in any event not in breach of these items;

                     4. The contract provides in clause 33 for a dispute resolution
                     procedure, which RRMC have not followed by serving the
                     Notice. We require that RRMC follow the process as set out in
                     clause 33 given this dispute scenario; and

                     5. Topalsson do not regard the contract as terminated given this
                     incorrect Notice by RRMC and we consider that the contract
                     continues and Topalsson hereby affirms the contract.

                     If RRMC do not revoke the Notice, repudiating and abandoning
                     the contract by RRMC, Topalsson will instruct legal counsel to
                     take all necessary action against RRMC including for damages
                     suffered by Topalsson as a consequence of RRMC s repudiatory
                     breach. We invite RRMC to withdraw the Notice by no later than
                     Wednesday, 22 April 2020, failing which it will be necessary to
                     escalate matters. In the meantime, all of Topalsson’s rights are
                     fully reserved.”

  128.     By letter dated 22 April 2022 RRMC served the Second Letter of Termination on
           Topalsson, without prejudice to its contention that the First Notice of Termination was
           valid and effective:

                     “… There were delays by Topalsson from the outset. The
                     relevant Implementation Plan for current purposes was delivered
                     to RRMC on 22nd November 2019. RRMC and Topalsson
                     discussed and agreed a number of small changes that resulted in
                     a final, agreed Implementation Plan. Topalsson published a final
                     version of the plan on the project Panama drive as confirmed by
                     Topalsson’s email of 3rd December 2019. This plan was
                     presented to RRMC Steering Committee on 11th December
                     2019 where it was accepted as final. Subsequently Topalsson
                     reported progress to RRMC against these targets in its status
                     updates presented at weekly management status meetings.

                     By clause 13.7, it was agreed that if any delivery was delayed at
                     the request of or by reason of RRMC’s act or omission, the
                     Implementation Plan would be amended to take account of such
                     delay. No such amendments have been made.

                     Topalsson has failed to deliver the Deliverables and Services in
                     accordance with the contractually binding milestones in the
                     Implementation Plan. These late deliveries are documented in
                     the weekly Status Reports delivered by Topalsson. Topalsson
                     has failed to deliver as follows:



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                     9 March 2020                  Technical Go-Live IVT (Image Validation
                                                   Tool)

                     1 April 2020                  Technical Go-Live of the Closed Room
                                                   Configurator (incl. basic solution for CMS
                                                   with Excel import)

                     23 April 2020                 Technical    Go-Live      CRIS     (CoSy
                                                   replacement)

                     Time was of the essence in relation to the above milestones. That
                     was made abundantly clear in the Contract but also in RRMC’s
                     email on 5 March 2020 in which it was stated: “Your
                     achievement of completing these products within the milestones
                     is a condition of our ongoing contractual relationship.”

                     Topalsson’s failure to achieve the milestones by their respective
                     milestone dates and in respect of which time was of the essence
                     is a breach of the Contract which goes to its root and deprives
                     RRMC substantially of the contractual benefit to which it was
                     entitled.

                     Without prejudice to RRMC’s Notice of Breach dated 16 April
                     2020, RRMC hereby accepts Topalsson’s repudiatory breach of
                     the Contract. The Contract is now at an end.

                     Without prejudice to RRMC’s common law right of termination
                     and its acceptance of Topalsson’s repudiatory breach, RRMC
                     hereby gives notice that the Contract is terminated with
                     immediate effect pursuant to clause 13.11 and clause 13.11.3 of
                     the Contract…

                     Time was of essence in relation to the delivery of the
                     Deliverables under clause 5.8 as appears above. Topalsson has
                     failed to deliver the Deliverables in accordance with the
                     Implementation Plan as set out above. The Contract is now
                     terminated with immediate effect in accordance with its terms.

                     We will be writing in due course in relation to the consequences
                     of termination, meanwhile, all rights are reserved.”

  129.     By email dated 1 May 2020 Topalsson disputed that RRMC was entitled to terminate
           the Agreement and treated the Second Notice of Termination as repudiation of the
           Agreement. Topalsson’s responses to the allegations of delay included the following:

                     “No implementation plan in Tender Documentation, there is
                     only anticipated timeline starting from 1 July (in the appendices).
                     DP1 was never completed and finished no Acceptance of DP1.
                     There was a project plan but that plan was not agreed nor
                     accepted by RRMC. No knowledge of what was presented at
                     steering committee by RRMC. No feedback provided by RRMC



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                     on outcome of steering committee. BMW ITPM not clear which
                     guidelines applied…

                     Several amendments to timelines have been made due to delays
                     from RRMC side …. Multiple times re-planned due to requests
                     of RRMC to hold the Business milestone - ClosedRoom. No
                     agreed implementation plan and no feedback on plan from 28
                     November 2019 nor replanning from 15 February 2020.

                     IVT Technical Go-Live was achieved on 19 March 2020 after
                     delays due to BMW IT.

                     Closed Room Installer and Support subsequently delivered from
                     18 March 2020 until 20 April 2020. UAT blocked by Jan-
                     Hendrik Hoffmann. Cancelled with email from Ida Biot 7 April
                     2020.

                     CRIS delivered and installed on BMW Premises on time (proof
                     screenshot 21 April 2020) ... ”

  130.     By letter dated 9 June 2020, CMS, then Topalsson’s solicitors, confirmed its position:

                     “… the Agreement was not effectively terminated by either the
                     First Termination Notice or the Second Termination Notice and
                     RRMC was therefore in repudiatory breach of the Agreement as
                     a result of its wrongful termination…

                     Topalsson therefore elects to accept RRMC’s repudiatory breach
                     and hereby terminates the Agreement with immediate effect…”

  131.     Topalsson ceased working on the project at the end of May 2020.

  Proceedings

  132.     Topalsson issued these proceedings on 15 September 2020.

  133.     Topalsson’s primary case is that it achieved Technical Go-Live for the Closed Room
           and IVT tools, and it would have achieved the same for CRIS had RRMC not terminated
           the Agreement unlawfully. Topalsson delivered in line with the operational dates
           agreed in the March Plan. However, by this stage, RRMC had already decided that it
           would use an alternative supplier and chose not to progress any outstanding integration
           issues. Topalsson fulfilled its side of the bargain. RRMC’s termination of the
           Agreement was therefore unlawful.

  134.     Topalsson’s secondary case is that it was not in anticipatory and/or repudiatory breach
           of the Agreement. Time was not of the essence as there was no agreed programme;
           hence, Topalsson’s obligation was simply to deliver within a reasonable time. RRMC
           introduced significant delay to an already tight timeline before Topalsson became
           involved in the project by its delay in getting to tender, hindered Topalsson in adopting
           its preferred agile approach to the development of the software (which Topalsson was
           contractually entitled to do), and failed to agree a billing schedule for the project. As a
           result, blame for delays to the project does not lie with Topalsson.


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  135.     RRMC’s case is that under the Agreement Topalsson agreed to complete the services
           and deliver each of the software Delivery Packages at a fixed cost by the milestone or
           delivery dates identified in an agreed programme (“the Implementation Plan”).
           Topalsson was responsible for delays to the analysis and detailing of RRMC’s business
           requirements specified in the ITT, with the result that the user stories which should have
           been generated were not available either for planning or for the development required
           by subsequent DPs. In late November 2019, Topalsson produced a plan spreading the
           DPs over software releases, including pre-releases of critical functionality, representing
           a reduction in scope, which RRMC accepted and which was approved by the project
           Steering Committee on 11 December 2019 (the December Plan).

  136.     RRMC’s position is that delays occurred against the December Plan and in February
           2020, Topalsson proposed further reductions in the scope of software releases to be
           delivered in time for the launch of the new Ghost by April/May 2020, with later delivery
           dates for the remaining software releases and associated artefacts. At a meeting in
           March 2020 the parties agreed the March Plan, pursuant to which Topalsson would
           deliver IVT by 9 March 2020, Closed Room by 1 April 2020 and CRIS by 23 April
           2020. RRMC’s case is that Topalsson failed to deliver and/or achieve Technical Go-
           Live of those components by the agreed dates in the March Plan and RRMC lost
           confidence in Topalsson’s ability to perform.

  The Issues

  137.     The key issues can be summarised as follows:

           i)        whether Topalsson was obliged to deliver and install the software in accordance
                     with an agreed programme or within a reasonable time;

           ii)       whether Topalsson achieved any of the milestone dates (as initially agreed or
                     revised), or carried out its obligations within a reasonable time;

           iii)      whether Topalsson was impeded in its performance, or prevented from
                     performing its obligations by RRMC;

           iv)       whether RRMC was entitled to terminate under clause 13.11.3 of Section 7 of
                     the Agreement or at common law on the ground of Topalsson’s repudiatory or
                     anticipatory breach, or was in repudiatory breach by giving the Notices of
                     Termination;

           v)        whether Topalsson induced RRMC to enter into the Agreement by making false
                     representations in relation to Audi;

           vi)       quantum of the claims and counterclaims;

           vii)      whether either party is entitled to an order for delivery up or destruction, and/or
                     declaratory relief in respect of Deliverables, Supplier Software and Bespoke
                     Software.

  Factual witness evidence

  138.     Topalsson relied on evidence from the following factual witnesses:




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           i)        Kubilay Topal, the founder and CEO of Topalsson;

           ii)       Jens Wiedow, Topalsson’s Senior Project Manager, who worked on the project
                     from August 2019 to the end of the project;

           iii)      Simon Kottenhagen, the Senior Product Owner on the project from February
                     2020 onwards;

           iv)       Hans Mokrusch, a Certified Business Economist who throughout the period of
                     the project acted as Topalsson’s Chief Financial Officer;

           v)        Oliver Teschner, a employee of Audi AG, working in the Customer Care and
                     the Strategic Portfolio IT-Requirement Management team.

  139.     RRMC relied on evidence from the following factual witnesses:

           i)        Ida Biot, employed by BMW as Head of Process Management, who set up the
                     project and as Project Lead ran it for RRMC until termination;

           ii)       Jan-Hendrik Hoffmann, a manager in RRMC’s Process Management and
                     Integration Team;

           iii)      Matthew Scott, employed by RRMC as a Process Integration Manager and
                     Product Owner of its configuration landscape;

           iv)       Paul Comper, RRMC’s Head of Current Vehicle Management;

           v)        Juergen Brzank, Chief Finance Officer of RRMC;

           vi)       Alexa von Schwichow, a freelance project manager retained as the Project
                     Manager by Topalsson in August 2019;

           vii)      Bernd Eigenstetter, who supervised RPC’s design team;

           viii)     Jan Schemuth, the CEO of RPC;

           ix)       Scott Litster, sales support manager at RRMC, responsible for the visual
                     representation of vehicles within the pricing and online ordering configurators;

           x)        Lothar Dannecker, a freelance contractor, who worked on the project from early
                     November 2019 to support the PMO and test management;

           xi)       Alexander Weise, who joined Topalsson as a freelance contractor at the end of
                     February 2020 as ‘DevOps Engineer’;

           xii)      Johann Valentinitsch, an independent management consultant and author of the
                     January 2020 audit report on the project;

           xiii)     Raj Sharma, employed by BMW as head of Dev Ops and Market Integration
                     Manager;

           xiv)      Henrik Wilhelmsmeyer, RRMC’s Director of Sales and Marketing;



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           xv)       Dr Timo Poser, RRMC’s CFO who took over from Mr Brzank on 1 February
                     2020;

           xvi)      William Gellatly, head of Sales and Marketing, Bespoke at RRMC;

           xvii)     Rhodri Good, Sales and Marketing at RRMC.

  140.     Some of the witnesses gave their evidence by video-link from Austria. It had been
           intended that they should give their evidence from Germany but the defendant had
           failed to follow the guidance in Practice Direction 32 Annex 3, which includes a
           reminder that not all foreign governments are willing to allow those within their
           jurisdiction to be examined before a court in England by means of video conference
           and advises that checks on this should be addressed to the Foreign, Commonwealth and
           Development Office. It transpired that the necessary permission had not been obtained
           from the German Court.

  141.     Fortunately, confirmation was obtained that it would be possible for the witnesses to
           travel to Austria and give evidence from that jurisdiction. Article 8 of the Austro-British
           Convention on Mutual Legal Assistance BGBI 1932/45 allows for evidence to be taken
           on Austrian territory without the intervention of state authorities, provided that a
           "Commissioner" in charge of the taking of evidence is appointed as a person authorised
           by the Court. The Court can "commission" the presiding Judge for this purpose, as
           explained by Joanna Smith J in Dana UK Axle Ltd v Freudenberg FST GmbH [2021]
           EWHC 1751 (TCC).

  142.     Accordingly, by order dated 17 October 2022, I was commissioned to take evidence to
           be given in these proceedings from within the territory of the Republic of Austria and
           authorised such evidence to be given remotely by video link. In this case it did not cause
           any insuperable difficulties but parties are reminded of the necessity of considering
           these issues well in advance of the trial, at the latest by the time of the PTR.

  Expert evidence

  143.     Topalsson’s experts were:

           i)        Mark Britton of PA Consulting Group, who provided a first report dated 20 July
                     2022 and a response report dated 16 September 2022, addressing IT issues;

           ii)       Geoff Mesher of Tempest Forensic Accounting UK LLP, who provided a report
                     dated 28 July 2022 on the quantum of Topalsson’s claims.

  144.     A failure on the part of the claimant to comply with the procedural timetable set by the
           court (caused by two changes of solicitors), resulted in orders made by Veronique
           Buehrlen KC, sitting as a deputy high court judge, dated 30 June 2022 and 29 July 2022
           respectively, debarring Topalsson from adducing expert evidence on a number of IT
           expert issues and the counterclaim quantum. I acknowledge that this has hampered the
           experts, who bear no responsibility for any of the claimant’s defaults, in the extent of
           evidence covered by their reports. I am grateful to them for their efforts to assist the
           court in difficult circumstances.

  145.     RRMC’s experts were:



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           i)        Dr Gillian Hunt of Hunt Lancaster Limited, who provided a first report dated 17
                     June 2022 and a response report dated 16 September 2022, addressing IT issues;

           ii)       Chris Osborne of FRP Advisory Trading Limited, who provided a first report
                     dated 17 June 2022 and a second report dated 16 September 2022 on the
                     quantum of RRMC’s claims and Topalsson’s claims.

  146.     The experts have produced helpful joint statements:

           i)        IT experts’ joint statement dated 7 October 2022, limited to the issues covered
                     by both experts;

           ii)       Forensic accountancy experts’ joint statement dated 23 September 2022, limited
                     to a consideration of Topalsson’s claims.

  Issue 1 – Time obligation

  147.     Clause 5.3.7 of Section 7 of the Agreement required Topalsson to complete the Services
           and deliver the Deliverables by any applicable milestone date or delivery date; or, if not
           specified, within a reasonable time as specified by RRMC. Clause 5.8 of Section 7
           stipulated that time was of the essence in respect of any date for delivery specified in
           the Agreement.

  148.     RRMC’s case is that Topalsson was obliged to comply with the milestones or delivery
           dates set out in: (i) the Implementation Plan contained in the ITT appendix; (ii) the
           December Plan, pursuant to its obligation to deliver DP1; and/or (iii) the March Plan,
           as applicable or reasonable delivery dates notified by RRMC; further, that time was of
           the essence in respect of those plans under the Agreement.

  149.     Topalsson’s case is that there was no binding programme and its obligation was limited
           to performance within a reasonable time; (i) the Implementation Plan was not a
           contractually binding programme; (ii) the December Plan was not agreed; and (iii) the
           March Plan set out dates proposed by Topalsson as operationally viable and were
           adopted by RRMC but they were not contractually binding.

  Implementation Plan

  150.     The Implementation Plan was defined in Section 6 of the Agreement as: “the time
           schedule and sequence of events for the performance of this agreement set out in Section
           2 and in accordance with BMW ITPM.” Section 2 contained a reference to
           ‘Implementation Plan’ and stated: “Refer to Tender Document and appendices. This
           will be refined further in DP1.”

  151.     The only document that could be the Implementation Plan is the ‘High level Project
           Roadmap/Anticipated Timeline’ contained in an appendix to the ITT and referred to in
           section 10.4 of the ITT as “the milestone plan”, set out below:




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  152.     The Implementation Plan contained activity bars for each mandatory Delivery Package
           with symbols indicating the end of each time period. In my judgment it did not contain
           contractual milestones or delivery dates for the following reasons.

  153.     Firstly, the timeline was, as stated, “high level” and was not sufficiently defined to
           impose contractual deadlines. There were no specific dates (days or months) inserted
           on the roadmap. The end of any activity bar, although indicative, could not be linked to
           any specific date with any degree of certainty; the start or finish of an activity bar at the
           beginning or end of a relevant quarter, or part-way through a relevant quarter, did not
           indicate any particular date.

  154.     Secondly, the Implementation Plan in the ITT appendix was described as an
           “Anticipated Timeline” and not a fixed programme. In its tender response, Topalsson
           proposed dates for DP1, DP3 and DP10 that aligned with the Implementation Plan but
           stated that DP1 (which included the development of a refined Implementation Plan)
           would affect all subsequent packages and all other DPs would be confirmed in DP1.
           There is nothing indicating that the parties agreed Topalsson’s proposed dates, or
           imposed any other dates, as fixed milestones. It would have been open to the parties to
           insert into Section 1 of the Agreement as key terms any fixed milestones but no key
           dates were specified.

  155.     Thirdly, clause 8 of section 2 of the Agreement and the description of DP1 expressly
           required the Implementation Plan to be refined. One of the main purposes of DP1 was
           to define in detail the scope of each Delivery Package. In those circumstances, it must
           have been contemplated by the parties that the delivery dates and sequencing might
           require adjustment. Although it is likely that it was anticipated that the refined
           programme would be in general alignment with the Implementation Plan, the
           Agreement did not stipulate that the delivery dates must fall within the parameters of
           the indicative bar lines in the same. On the contrary, section 10.4 of the ITT explicitly
           stated that the milestone plan might be amended based on the initial analysis phase
           (Delivery Package 1).

  156.     Finally, the software delivery and installation dates were defined in section 6 of the
           Agreement as estimated, rather than fixed, dates in the Implementation Plan. This was
           a strong indication that those dates were not considered by the parties to be fixed and
           binding.




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  157.     In summary, the Implementation Plan set out a high level, indicative framework for the
           detailed planning required to be carried out as part of DP1 but did not impose on
           Topalsson a contractual obligation to deliver the DPs within the timeline shown in the
           ITT document.

  The December Plan

  158.     RRMC’s case is that the December Plan was an agreed project plan as part of the
           completion of DP1. The December Plan was prepared by Topalsson, approved by the
           RRMC Steering Committee, incorporated into the Business Proposal and thereafter
           used by both parties as the agreed implementation plan.

  159.     Topalsson’s case is that the December Plan was not agreed and did not constitute a
           contractually binding implementation plan pursuant to DP1. It was simply a working
           planning document with no formal contractual status.

  160.     I am satisfied that there is ample evidence demonstrating that the December Plan
           constituted the refined implementation plan for the purpose of DP1 for the following
           reasons.

  161.     Firstly, the December Plan was the first and only detailed implementation plan setting
           out the dates for commencement and completion of all relevant activities through
           delivery of releases, in sequence and with clear milestones for each Delivery Package.

  162.     Secondly, the December Plan was produced by Topalsson and submitted to RRMC as
           the “Roadmap”, i.e. the revised implementation plan for the purpose of DP1. The
           proposed plan was presented to RRMC at the meeting on 28 November 2019, which
           had been convened specifically for that purpose, as explained by Mr Brzank in his
           evidence. RRMC required Topalsson to check its feasibility with stakeholders but,
           subject to such checking, agreed to submit it for approval in the Steering Committee on
           11 December 2019. In cross-examination, Mr Mokrusch agreed that the milestones set
           out in the Roadmap were agreed at the 28 November meeting. Subsequently, the MS
           Excel version of the revised plan dated 6 December 2019 was submitted by Topalsson
           as its project plan.

  163.     Thirdly, Ms Biot’s evidence is that the December Plan was accepted and approved by
           the Steering Committee. Although, as noted by Topalsson, there are no minutes of the
           Steering Committee meeting on 11 December 2019, the slides prepared for the meeting
           stated that the Project Plan and milestones were detailed and aligned for DP1 and
           incorporated the Roadmap and release scopes proposed by Topalsson. Ms Biot’s
           evidence is supported by Mr Brzank, who recalls that Ms Biot presented the December
           Plan to the Steering Group as the acceptable and only option that would enable the new
           configurator to be available for the Ghost model events. Her understanding that it was
           an agreed plan is consistent with RRMC internal communications, such as Ms Biot’s
           email to Dr Poser dated 2 February 2020.

  164.     Fourthly, the December Plan was incorporated into the Business Proposal which was
           produced as part of DP1 and approved in January 2020 as set out above.

  165.     Fifthly, the parties used the December Plan as the agreed timeline against which
           subsequent discussions regarding progress and delay took place. Although there were



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           disagreements as to the causes of delay and necessary steps to recover or revise the
           programme, there was no suggestion by either party that the December Plan was not
           agreed. Topalsson produced its status reports against the December Plan, its re-planning
           proposals in February 2020 were against the “Roadmap” forming the basis of the
           December Plan, and internal Topalsson discussions on Slack referred to the Roadmap
           in the Business Proposal as the agreed plan.

  166.     It is said by Topalsson that, even if the December Plan constituted an agreed plan, time
           was not of the essence under the Agreement.

  167.     Clause 5.3.7 of Section 7 of the Agreement provides that Topalsson is obliged to:

                     “complete the Services and deliver the Deliverables on time and
                     in full and by any applicable milestone date or delivery date, if
                     delivery dates or milestones are not specified, within or by any
                     reasonable delivery date or time period that is specified by
                     RRMC.”

  168.     The key provision making time of the essence is clause 5.8 of Section 7 of the
           Agreement:

                     “Time shall be of the essence regarding any date for delivery by
                     the Supplier of any good or service specified in this agreement
                     and the Completion Date.”

  169.     Topalsson’s case is that the words “specified in this agreement” refer back to the words
           “any date for delivery” and RRMC has not established that any of the dates relied on
           were specified in the Agreement. In particular, it is said that this provision could not
           relate to dates or programmes agreed subsequent to the date of the Agreement.

  170.     The principles applicable to contractual interpretation are well established. When
           interpreting a written contract, the court is concerned to ascertain the intention of the
           parties by reference to what a reasonable person, having all the background knowledge
           which would have been available to the parties, would have understood them to be using
           the language in the contract. It does so by focussing on the meaning of the relevant
           words in their documentary, factual and commercial context. That meaning has to be
           assessed in the light of (i) the natural and ordinary meaning of the clause, (ii) any other
           relevant provisions of the contract, (iii) the overall purpose of the clause and the
           contract, (iv) the facts and circumstances known or assumed by the parties at the time
           that the document was executed, and (v) commercial common sense, but (vi)
           disregarding subjective evidence of any party's intentions: Arnold v Britton [2015]
           UKSC 36 per Lord Neuberger at [15]-[23]; Wood v Capita Insurance Services Ltd
           [2017] AC 1173 at [11]-[15]; Rainy Sky SA v Kookmin Bank [2011] UKSC 50 per Lord
           Clarke at [21]-[30]; Chartbrook Ltd v Persimmon Homes Ltd [2009] UKHL 38 per Lord
           Hoffmann at [14]-[15], [20]-[25].

  171.     The starting point is the meaning of the express words used in clause 5.8. The words
           “specified in this agreement” immediately follow the words “good or service” rather
           than “any date for delivery”. Therefore, the natural and ordinary meaning is that the
           words “specified in this agreement” are descriptive of the “good or service” and not




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           the “date for delivery”. Read in this way, the date for delivery must be any applicable
           milestone date or delivery date referred to in clause 5.3.7 of Section 7.

  172.     Topalsson’s interpretation assumes that delivery dates could not amount to specified
           dates in the Agreement unless they were fixed at the date of the Agreement. However,
           that ignores the other provisions which made it clear that the delivery dates were to be
           fixed as part of the first phase of work under the Agreement.

  173.     The parties’ common understanding was that the nature of the project required
           development work to be carried out to finalise the scope, timing and sequencing of the
           releases within the Delivery Packages. As set out above, clauses 1 and 8 of Section 2
           of the Agreement provided that the dates for delivery of the Services were set out in the
           high-level Implementation Plan but to be further specified in DP1.

  174.     An objective meaning of those provisions is that the specified dates for delivery were
           to be agreed as part of DP1. Once the December Plan was agreed under DP1, the
           milestone dates it contained became the specified dates under the Agreement.

  175.     The material provisions must be construed against the relevant factual matrix. It was
           clear from the outset of the project that the new configurator was required to be
           functional for the launch of the new Ghost model. Key dates were the Closed Room
           preview events from 13 April 2020, the World Dealer Conference on 15 April 2020,
           Start of Communications for the new Ghost model from 4 May 2020 and Start of
           Ordering for the Ghost from 15 June 2020.

  176.     Those commercially sensitive dates were identified in the Implementation Plan
           contained in the ITT appendix and in all subsequent versions of the Roadmap and other
           plans produced by Topalsson. Against that background, the parties’ common
           understanding was that strict compliance was required with the agreed milestone dates.

  177.     In summary, the December Plan was agreed between the parties as the refined
           Implementation Plan under DP1. As such, it imposed on Topalsson a contractual
           obligation to deliver the DPs in accordance with that plan and time was of the essence
           in respect of the milestone dates for each Delivery Package in the December Plan.

  The March Plan

  178.     RRMC’s case is that at the meeting on 4 March 2020 the parties agreed that, pending a
           revised plan to be proposed to recover delays, a reduced scope of key functionality
           would be delivered by the following dates:

           i)        9 March 2020 - Technical Go-Live IVT (Imagery Validation Tool);

           ii)       1 April 2020 - Technical Go-Live of the Closed Room Configurator (including
                     the basic solution for CMS with Excel import); and

           iii)      23 April 2020 - Technical Go-Live CRIS (CoSy replacement).

  179.     RRMC’s position is that the dates in the March Plan were contractually specified dates
           and that time was of the essence in respect of the same.




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  180.     Topalsson’s case is that the March dates were agreed but they were not contractually
           binding dates. They were not specified in the Agreement; nor were they the subject of
           any variation; nor did they appear in any agreed Implementation Plan. Rather, they were
           proposed by Topalsson as operationally viable and adopted by RRMC.

  181.     The context in which the meeting on 4 March 2020 took place is significant. Mr Topal
           had informed Ms Biot that Topalsson could not meet the timetable in the December
           Plan. The revised proposals that Topalsson put forward in February 2020 signalled a
           dramatic slippage to the project, including the deferral of substantial functionality, a
           partial release of the POS configurator from September 2020 and overall delayed
           delivery of the project to 2021. However, it is clear that Topalsson recognised the
           importance to RRMC of delivering sufficient functionality that would enable the new
           configurator to be used for the Ghost launch in April/May 2020. A general departure
           from the December Plan was not acceptable to RRMC but, against the delay that had
           already occurred, it acknowledged the value in agreeing a limited scope of delivery that
           would meet the needs of the Ghost launch.

  182.     The key dates identified by Topalsson in the February proposal were:

           i)        IVT Pre-Release at the beginning of March 2020;

           ii)       Closed Room Pre-Release at the beginning of April 2020;

           iii)      CRIS Release at end of April 2020 (SOC 4 May 2020).

  183.     These dates were agreed by RRMC at the meeting on 4 March 2020, confirmed as
           specific dates in Ms Biot’s email of 5 March 2020 and promised by Mr Topal in his
           email of 5 March 2020.

  184.     Contrary to Topalsson’s contention, the March Plan was not simply a non-binding,
           operational plan. Although the causes of delay are in dispute, it is common ground that
           Topalsson had failed to meet the milestone dates in the agreed December Plan there had
           been no application for, or grant of, an amendment to the December Plan under clause
           13.7 of the Agreement. The more limited scope and later dates for delivery constituted
           a relaxation and/or extension of time under the December Plan. It was explicitly stated
           by Ms Biot in her email of 5 March 2020 that:

                     “Your achievement of completing these products within the
                     milestones is a condition of our ongoing contractual
                     relationship.”

  185.     In summary, the March Plan was contractually binding on Topalsson and it made time
           of the essence in respect of the revised dates agreed.

  Issue 2 – Compliance with time obligations

  186.     Topalsson’s case is that it achieved Technical Go Live in respect of IVT and Closed
           Room and would have achieved Technical Go Live in respect of CRIS but for RRMC’s
           termination.

  187.     RRMC’s case is that Topalsson did not achieve Technical Go Live in respect of IVT,
           Closed Room or CRIS and failed to meet the milestones agreed in the March Plan.


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  Technical Go Live

  188.     It is common ground that the March Plan (which, I have found above, imposed
           contractually binding obligations on Topalsson) required Technical Go Live to be
           achieved: (i) in respect of IVT by 9 March 2020; (ii) in respect of Closed Room by 1
           April 2020; and (iii) in respect of CRIS by 23 April 2020. However, Technical Go Live
           was not a defined term in the Agreement and the parties are in dispute as to what was
           required to achieve it.

  189.     Topalsson’s case is that in the absence of any contractual definition or evidence of
           common understanding between the parties as to what the term meant, what amounts
           to Technical Go-Live is an expert issue. Mr Britton’s view is that Technical Go-Live is
           typically used to mean the point at which a software application has been installed on
           the production hardware and left in an operational state, available for restricted use. It
           does not require all testing to have been completed and it is not precluded by the
           existence of open defects. Mr Britton’s view is that in the case of each of the
           deliverables, it can be seen that most of the functionality was working and could be
           used.

  190.     RRMC’s case is that as a matter of contractual interpretation under the March Plan
           Topalsson was required to achieve Technical Go Live which included successful
           completion of systems integration testing (“SIT”) and user acceptance testing (“UAT”).
           To the extent that this raises an issue of expert evidence, Dr Hunt’s view is that in order
           to achieve Technical Go-Live the system needed to complete SIT and UAT successfully
           with no blockers or high defects and be deployed onto the intended infrastructure ready
           for use by the business. The test strategy required successful execution of the user
           acceptance tests, approval from management to stop UAT, business requirements
           fulfilled, no critical defects left out and sign off in respect of acceptance testing.

  191.     The starting point is analysis of the contractual documents to consider whether, in the
           absence of an express definition, the proper meaning of Technical Go-Live can be
           ascertained.

  192.     Clause 7 of section 2 of the Agreement expressly stated that section 8.1 of the ITT
           contained applicable provisions for acceptance and pre-installation testing. Section 8.1
           provided:

                     “For a successful completion of each Delivery Package in
                     general, the core deliverables and results of the Delivery Package
                     need to be documented in a suitable file format and accepted and
                     signed off by the Rolls-Royce Motor Cars project lead or a
                     nominated representative. The specific documents and the
                     aforementioned file format will be aligned with the Rolls-Royce
                     Motor Cars project lead at the start of each Delivery Package.

                     Additionally, for all development related Delivery Packages (i.e.
                     the Delivery Packages: 2, 3, 4, 5, 6, 7, 8, 9, 10, 13), the following
                     acceptance criteria apply:

                     The deliverables per Delivery Package have to conform with
                     BMW ITPM standards if not specified differently. Additionally,



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                     all test types (e.g. Approval test, security test, load test) and test
                     levels (e.g. subsystem test, system integration test, acceptance
                     test) must be successfully completed for the Configurator
                     Development and in System Transformation. This means that no
                     blockers or high defects may occur. The ITPM () as well as the
                     standards defined by the BMW group () serve as the basis for the
                     acceptance and execution of the tests. The tests must be
                     documented according to the specifications in the ITPM as well
                     as accepted and signed-off by the Rolls-Royce Motor Cars
                     Project lead or a nominated representative. ”

  193.     The ITT appendix identified as applicable the document ‘Phase Result in Agile Project’,
           which provided that the BMW Group Test Handbook applied to agile and waterfall
           projects, although in agile projects the various test levels would apply to each sprint.

  194.     The BMW Group Test Handbook, another ITT appendix document, identified different
           models of testing, some of which incorporated testing as each part of the system was
           completed. However, each model included SIT and UAT before Go-Live was achieved.

  195.     The Test Plan produced for the project set out the test strategy, namely, to verify that
           the functionality of the system met all specified criteria, and contained the following
           provisions:

                     “1.2.3 Development and testing will follow an agile approach
                     that sits between the Model 50 and Model 75 of the BMW test
                     handbook… Test Design and (partial) Integration Testing is
                     done during the sprints (similar to Model 75), but no formal
                     UATs will be executed during the sprints … Final system
                     integration (SIT) and user acceptance (UAT will be performed
                     before Go-Live (as in Model 50).

                     …

                     2.4.1 The project is following an agile approach based on "model
                     50". The project is based on an agile approach in terms of roles
                     (Product Owner, Agile Coordinator / Scrum Master, Agile
                     Team), but the Test Execution for the Test Levels "System
                     Integration Test (SIT)" and "User Acceptance Test (UAT)" is
                     planned after agile sprints have been completed. In consequence
                     the Test Processes and Test Roles of the project follow majority
                     an classical role model and partially an agile approach - meaning
                     the project is following a tailored waterfall approach with agile
                     elements for SIT and UAT testing.”

  196.     The draft implementation plan produced by Topalsson in November 2019 contained a
           ‘Roadmap’ gantt chart that showed sequential bars for Development, Testing and Go-
           Live in respect of each software release.

  197.     Technical Go-Live was identified as a specific milestone against each software release
           in the December Plan. The December Plan was a detailed MS Excel spreadsheet that
           showed a breakdown of each Delivery Package into detailed components. It included,



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           in respect of each software release, the start and end dates for each sprint, followed by
           the start and end dates of SIT, followed by the start and end dates of UAT. Technical
           Go-Live was identified as a separate bar starting on the last day of UAT, followed by
           Business Go-Live, followed by Go-Live Check for each release.

  198.     The status reports prepared by Topalsson showed progress and planning using the start
           and finish dates, and the sequencing of activities as set out in the December Plan,
           including the start and finish of SIT and UAT prior to Technical Go-Live.

  199.     The February 2020 proposal by Topalsson for deferred delivery contained a Roadmap
           gantt chart that showed sequential bars for Development, Testing and Go-Live in
           respect of each revised software release scope, including a reference to SIT/UAT
           against the key for Testing.

  200.     Consideration of the above documents leads me to draw the following conclusions on
           this issue:

           i)        Topalsson was subject to a contractual obligation to achieve successful
                     completion of testing, including SIT and UAT, in respect of each deliverable
                     within a Delivery Package, and to produce test documentation which was
                     accepted and signed off by RRMC in accordance with the ITPM standards in
                     the ITT appendix.

           ii)       The test guidelines that applied to the project set out in the ITT and appendices
                     included a requirement for SIT and UAT to be completed before Go-Live was
                     achieved.

           iii)      The test strategy and procedure documents produced for the project included a
                     requirement for SIT and UAT to be completed before Go-Live was achieved.

           iv)       The December Plan specified that SIT and UAT must be completed for each
                     release before Technical Go-Live could be achieved, followed by Business Go-
                     Live.

           v)        The February 2020 proposal by Topalsson to revise the December Plan sought
                     to reduce the scope of the delivery releases and to postpone the dates by which
                     releases would be delivered but did not seek to change the above sequencing or
                     the requirement for SIT and UAT as a pre-condition to achieving Technical Go-
                     Live.

  201.     Those conclusions are supported by the evidence of Mr Wiedow in cross-examination,
           who accepted that SIT and UAT were formal gateways that had to be passed before
           Technical Go-Live could be achieved.

  202.     As to the level of testing that was required, the experts reached a degree of agreement
           in their Joint Statement:

                     “1. We agree that it is important for software to undergo a full
                     range of tests. This range includes functional tests where:

                         (i)     Modules of code are tested individually against their
                                 designs (Unit Testing).


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                         (ii)    The interworking of these modules of code is tested
                                 against the design for how they should interwork
                                 (Module Integration Testing).

                         (iii) The testing of the system as a whole against the
                               functional specification of the system (System Testing).

                         (iv) The system is tested to confirm that it works as designed
                              with the systems to which it interfaces (System
                              Integration Testing).

                         (v)     The system is tested by users to confirm that it delivers
                                 the business requirement (User Acceptance Testing).”

  203.     Mr Britton’s view is that the existence of open defects would not necessarily preclude
           the achievement of Technical Go-Live. Dr Hunt’s view is that no critical or high level
           defects could persist. They are both correct. The Test Plan agreed by the parties
           identified the criteria against which defects or bugs in the software would prevent any
           release from passing.

  204.     The severity of defects identified during testing was classified in the Test Plan as
           follows:

           i)        Critical – Severity: The defect is blocking key functions or it may cause a system
                     crash with possible data loss and / or serious inconsistency. System cannot be
                     used in this form. Priority: Testing or project delay affects major parts of the
                     project deliverable (e.g. several tests are blocked). If needed, a separate fix will
                     be delivered/tested.

           ii)       High – Severity: A fundamental function is defective or a major requirement
                     was not implemented correctly. Fundamental function cannot be used. Priority:
                     Testing or project delay affects a key functionality but this can be mitigated with
                     a workaround. Fix will be delivered with the next available slot (e.g. sprint).

           iii)      Medium – Severity: A (sub-)function is defective or a requirement was
                     implemented incorrectly. System can be used with restrictions. Priority: Testing
                     or project delay is limited to the linked test case(s). Defect Fix will be bundled
                     and delivered according to plan (e.g. within the next two sprints).

           iv)       Low – Severity: A marginal variation was observed System can be used without
                     restriction. Priority: Testing or project delay unlikely. Defect will be fixed when
                     time is available.

  205.     The default SIT exit criteria were agreed by the parties and set out in the Test Plan as
           follows:

           i)        100% test cases executed.

           ii)       85% test cases passed.

           iii)      No critical/high defects.




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           iv)       No security defects (vulnerabilities) with Severity critical or high or medium, if
                     they fall under the scope of [IT Regulation: Security Testing].

           v)        Unit Test Reports for each sprint (overall for each release).

           vi)       Release Notes - Actual release notes & the release notes specific to the start of
                     SIT with reference to the defects fixed - with versioning of the software delivery
                     or similar.

  206.     Likewise, the UAT exit criteria were agreed as set out in the Test Plan:

           i)        100% test cases executed.

           ii)       85% test cases passed.

           iii)      No defects with Severity critical or high. Weakened criteria: impact of all
                     critical/high defects is analysed and accepted by business and operation (does
                     not apply to security defects - see next point).

           iv)       No security defects (vulnerabilities) with Severity critical or high or medium, if
                     they fall under the scope of [IT Regulation: Security Testing].

           v)        0 defects with the evaluation Medium Weakened criteria: impact of all
                     critical/high defects is analysed and accepted by business and operation (does
                     not apply to security defects - see next point).

           vi)       Defects with the evaluation Low must be eradicated and registered by the next
                     follow-up release at the latest.

           vii)      Error-free deployment has been effected in test and integration.

           viii)     Pre-Integration tests and Integration tests have been successfully performed.

           ix)       Defects that have occurred have been eradicated and documented.

  207.     Against that contractual and factual background, the reference to Technical Go-Live in
           the meeting on 4 March 2020 and the agreed March Plan must be interpreted as a
           requirement for the relevant release to be delivered and installed, having completed
           successfully SIT and UAT in accordance with the agreed Test Plan and running on a
           production environment that has technically gone live.

  IVT

  208.     Imagery Validation Tool (IVT) comprises a web-based user interface that allows a user
           to select models and features of cars and view the resulting 3D images. It is a standalone
           tool, allowing RRMC to review and validate the rendered 3D models of the vehicles
           and their mapping to configurator options, and was intended to replace RRMC’s
           existing review configurator.

  209.     IVT was described in the ITT as follows:




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                     “Functionality is required to allow the business to validate the
                     imagery outside of the configurator. This is to ensure the imagery
                     is accurate and correctly mapped prior to releasing to the live
                     configurator…

                     Deliver an Imagery Validation Tool - a front-end view of all
                     3D/2D imagery generated from the visualisation engine. The
                     tool should show all option/colour code mapping to the relevant
                     image. No master data rules are required (e.g. no restrictions on
                     option or colour combinations)…”

  210.     Further details were set out in the Detailed Business Requirements:

                     “A tool is required to allow the business to validate the imagery
                     (2D and 3D) outside of the configurator. This is to ensure the
                     imagery is accurate and correctly mapped prior to releasing to
                     the live configurator. The tool should provide a front-end view
                     of all imagery generated from the visualisation engine.

                     The imagery validation tool should allow a user to review the
                     mapping between model code, option code or colour code to its
                     related imagery. This is [to] allow the user to validate the
                     imagery is mapped to the correct product master data.

                     Due to the sensitive nature of the vehicle imagery, access to a
                     validation tool must be secure and restricted to dedicated users.”

  211.     The December Plan showed IVT delivered in stages:

           i)        Pre-release IVT/CMS (referred to as early review) would be delivered through
                     Release 3a by 2 March 2020; and

           ii)       IVT/final/CMS/3b/4b would be delivered through Release IV by 17 August
                     2020.

  212.     The March Plan contained a date for Technical Go-Live in respect of IVT of 9 March
           2020. The version of IVT that was scheduled for Technical Go-Live in the March Plan
           was the pre-release version forming part of Release 3a, rather than the final version
           containing full functionality. It included business integration but data generation for the
           new POS configurator and a user interface to allow RRMC to manage configuration
           data within the CMS module of Topalsson’s software were deferred to a later release.

  213.     It is common ground that Topalsson did not achieve Technical Go-Live in respect of
           pre-release IVT by 9 March 2020. Topalsson’s case is that it was achieved on 20 March
           2020, as confirmed by Mr Wiedow’s email dated 20 March 2020 and the RRMC status
           report dated 24 March 2020.

  214.     SIT was completed by 26 February 2020 and UAT was completed by 9 March 2020,
           although there remained a number of outstanding tasks to enable technical deployment
           of the software, as set out in Mr Wiedow’s email to Mr Hoffmann dated 9 March 2020.




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  215.     Topalsson’s case is that the delay between 9 March 2020 and 20 March 2020 was
           caused by a failure on the part of RRMC to grant access rights to BMW’s proxy servers,
           so as to enable Topalsson to install and integrate the IVT software in the cloud server.
           RRMC’s case is that Topalsson failed to request the reverse proxy and web set-up in
           time and therefore caused the delay.

  216.     Mr Hoffmann explained in his evidence that it had originally been intended that IVT
           would be deployed on BMW’s Amazon Web Service (“AWS”) Cloud, but because IVT
           only needed to be used by a small group of users at RRMC, and it needed to hold strictly
           confidential data, the costs of appropriately secure Cloud storage would have been very
           high. It was therefore agreed in DP1 that IVT would instead be deployed on a physical
           server at Topalsson’s premises. However, in order for RRMC to be able to access the
           IVT servers on Topalsson’s network, appropriate connection mechanisms needed to be
           put into place, for which Topalsson needed to set up a reverse proxy, an application
           which handles communications between systems. In order to set up a reverse proxy,
           Topalsson needed to order it and liaise with BMW’s Web Ops team to install it.

  217.     Topalsson did not order the reverse proxy until 24 February 2020, as evidenced by Mr
           Reichl’s email of that date, and Mr Wiedow accepted in his witness statement that
           Topalsson made mistakes in its initial requests. Mr Hoffmann explained in cross-
           examination that it then took some time to set up the reverse proxy:

                     “… they needed more support than was usually expected
                     because they couldn't get it right, and they should have basically
                     educated themselves on the reverse proxy and web set-up earlier
                     in order to avoid these problems that late in the project, shortly
                     before go-live. So they hadn't done that, and yes, when they then
                     needed support, it then took some time.”

  218.     Mr Reichl and Mr Wiedow of Topalsson sent emails on 10 March 2020, requesting
           access and noting that the reverse proxy and subsequent configuration were the only
           tasks outstanding that were blocking Technical Go-Live for IVT. As recorded in the
           minutes of the Management Status Meeting held on 10 March 2020, it is clear that by
           this stage the reverse proxy issue had become urgent. However, that does not explain
           the failure on the part of Topalsson to start this process earlier so as to ensure the
           relevant application was in place when needed. It was unreasonable for Topalsson to
           assume that an immediate solution could be provided by RRMC at the eleventh hour.
           In those circumstances, Topalsson was responsible for any delay caused by the reverse
           proxy issue.

  219.     The technical experts agreed in their Joint Statement that IVT completed SIT and UAT.
           Notwithstanding that agreement, there is a dispute as to whether Technical Go-Live
           was achieved. RRMC relies on a number of persisting defects in the IVT as installed,
           namely: (i) the absence of more than one model; (ii) crashing when swapping between
           models; (iii) the failure to support use by multiple users; and (iv) the absence of TISAX
           security certification.

  220.     The technical experts agreed that IVT was deployed with only one model, for the Ghost,
           and did not support more than one user at a time. Further, they agreed that where a user
           started to configure a model and switched to another model, the DTE became
           unresponsive. I do not consider that these issues were a barrier to Technical Go-Live



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           in respect of IVT. It is clear that they amounted to outstanding defects and/or limitations
           on the use of IVT but, as set out above, it was not intended to be the final release; it was
           limited to the early review IVT. Of significance, the defects did not prevent SIT exit,
           RRMC conducted UAT and was satisfied that it had been completed.

  221.     Likewise, although Topalsson was obliged to obtain TISAX security certification, as
           set out in section 7.8 of the ITT and confirmed in the Business Proposal, this was not
           identified as a pre-condition for early review IVT, as opposed to a separate contractual
           obligation. On that basis, I do not accept RRMC’s argument that the absence of TISAX
           certification precluded the achievement of Technical Go-Live for IVT.

  222.     The contemporaneous documents are clear on this issue. Mr Wiedow’s email dated 20
           March 2020 and the RRMC status report as at 24 March 2020 both confirm that
           Technical Go-Live was achieved in respect of IVT on 20 March 2020.

  223.     I find that Topalsson was under a contractual obligation to achieve Technical Go-Live
           in respect of early review IVT by 9 March 2020. Technical Go-Live in respect of IVT
           was not achieved until 20 March 2020, in breach of the March Plan. RRMC was not
           responsible for such delay.

  Closed Room

  224.     The Closed Room configurator was a pre-release version of the Point-of-Sale (“POS”)
           configurator, a software tool that would allow potential customers to configure cars in
           showrooms. Closed Room was intended to allow RRMC dealers to demonstrate the
           Rolls-Royce Ghost car to invited audiences.

  225.     The December Plan showed the POS configurator delivered in stages:

           i)        Pre-release Closed Room (referred to as Closed Room Demo) would be
                     delivered through Release 3a by 9 March 2020; and

           ii)       Full POS configurator would be delivered through Release 3a by 25 May 2020.

  226.     Mr Wiedow described Closed Room as follows:

                     “The Closed Room configurator was a workable solution of the
                     Point of Sale configurator for the new Ghost model. It was a
                     configurator for only one model of car which was developed for
                     the Closed Room Event and it was never intended to be a fully
                     integrated software solution, in the same way that the Point of
                     Sale configurator was intended. Instead, it was supposed to be
                     used autonomously on specific hardware. It therefore had a
                     reduced scope in terms of functionality (i.e less configurability)
                     than the Point of Sale configurator.”

  227.     The March Plan contained a date for Technical Go-Live in respect of Closed Room of
           1 April 2020.

  228.     Topalsson’s case is that it achieved Technical Go-Live in respect of pre-release Closed
           Room by 1 April 2020 and this was unaffected by RRMC’s arbitrary decision not to




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           proceed with UAT. RRMC’s case is that it was not achieved because SIT and UAT
           were incomplete and the software was not properly functional.

  229.     Mr Scott of RRMC explained in his witness statement the difficulties he encountered
           in installing Closed Room:

                     “We had been expecting Topalsson to deliver an installer
                     program with Closed Room which would entirely automate the
                     installation process (this is what they had proposed as part of
                     their February re-planning), but the version of Closed Room
                     which it uploaded on 18 March 2020 did not contain an installer.
                     Instead it consisted of a number of different files all of which had
                     to be installed manually.

                     I had a lot of difficulties with this process. The laptop which had
                     been supplied to us by Topalsson for this purpose was brand new
                     and had nothing pre-installed on it, not even the correct operating
                     system, so the first thing I had to do was install Windows Pro,
                     which Topalsson gave me a license key for. Once that was done
                     I had to download the Closed Room files from RRMC’s servers
                     onto the laptop locally…

                     …Marco Weiss of Topalsson began assisting me in trying to get
                     Closed Room installed… I could see straight away that this was
                     not a finished version of Closed Room, but rather the current
                     state of development. The software kept crashing, some of the
                     imagery was not working and there seemed to be a lot of missing
                     content, although I did not have a detailed look because there
                     seemed to be a lot of bugs…

                     Some days later, on 25 March 2020, Marco advised me by email
                     that a new version of Closed Room had been uploaded to
                     RRMC’s project drive and was ready to be installed … Further
                     versions were then uploaded on 1 April and 3 April 2020.

                     At this stage I decided to do a complete uninstall of the first
                     version and to reinstall the latest version, because I wanted to see
                     whether Topalsson had now delivered an automated installer as
                     had been agreed, and whether the process would be smoother. I
                     found that this version still did not include an automatic installer,
                     and I needed support from Marco to complete the uninstall and
                     reinstall.

                     Unfortunately, I was never able to get this version of Closed
                     Room installed and functioning on the laptop… ”

  230.     Mr Britton’s view is that Topalsson delivered a working installer for the Closed Room
           configurator on or before 1 April 2020. RRMC either did or could have installed a
           version of the Closed-Room Configurator on to a machine similar to those that would
           be use for the Closed Room event by 1 April 2020. His evidence was that the maturity




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           of the configurator was sufficient to achieve Technical Go-Live and the outstanding
           issues were mainly associated with the model and other data deliverables.

  231.     Dr Hunt’s view is that the Closed Room version delivered on 1 April 2020 had not been
           adequately tested; in particular it had not been properly tested with the intended
           hardware. There were numerous problems with both the software and the CMS content
           that meant this version was not ready for UAT. Subsequent versions provided on 17
           and 21 April 2020 were significantly improved in terms of performance, completeness
           of the CMS content and the reliability of the user interface. However, they contained
           significant issues and would have failed UAT if that had been performed.

  232.     The contemporaneous documents show clearly that Closed Room did not complete SIT
           or UAT by the beginning of April 2020.

  233.     At the Jour Fixe meeting held on 25 March 2020 it was recorded that Closed Room
           progress was as follows:

           i)        60 user stories were “In Review” and ready for testing; 16 user stories were “In
                     Progress” that is, still under development;

           ii)       37 Stories were covered by test cases but 39 Stories were not yet covered by test
                     cases;

           iii)      SIT testing had produced 71 pass and 35 fail results, with 14 outstanding;

           iv)       24 defects had been identified, of which 4 had been resolved;

           As a result, the UAT entry checkpoint planned for that date could not be achieved.

  234.     In a Slack message on 3 April 2020 Mr Wiedow informed Mr Topal that SIT Exit/UAT
           Entry was still pending in respect of Closed Room:

                     “Blocker:

                     • 4 User Stories that are still in progress in the ATC

                     • Final description of technical/operational test cases not
                     complete, documentation and execution in XRay also still
                     pending. ”

  235.     The minutes of the Management Status Meeting held on 7 April 2020 recorded:

                     “Pre-release Closed Room

                     Exit SIT still delayed.

                     Documentation / execution of technical test cases in JIRA
                     expected for tomorrow – SIT exit and UAT cannot be scheduled
                     without these.

                     Topalsson will provide test planning.”




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  236.     That was reflected in the status report for 7 April 2020 which showed that SIT and UAT
           had not been achieved and the dates for Technical Go-Live and Business Go-Live had
           been missed without any revised target date.

  237.     There were significant defects in the Closed Room version delivered on 1 April 2020.
           By email dated 1 April 2020 Mr Scott identified a number of defects which he
           confirmed in cross-examination:

                     “Installer was successful. We would need to run it on a clean
                     computer as a next step. ...

                     DTE takes approximately 10mins to start up …

                     DTE cannot be closed easily- can’t access other applications
                     during this time

                     DTE is approx. 0.25 sec ahead of control front end visualisation.

                     Sometimes the imagery on control frontend doesn’t update (out
                     of sync with DTE). The navigation still works but imagery is
                     static.

                     Hotspots don’t always load/appear after moving the vehicle (360
                     view) or selecting camera…

                     Sometimes the interior lighting doesn’t readjust correctly when
                     moving to interior or changing backgrounds. You end up with
                     some odd colours and textures.

                     It is often difficult to open the selection menu from the hotspots
                     (they don’t stay open)

                     If you hold finger over a selection for too long the ipad screen
                     shot functionally kicks in and redirects away from the front-end.
                     The config session is then lost!

                     Colour tile remains against a colourable feature even if it is
                     removed from configuration (looks like the feature is selected)

                     Timeout I had a few instances of timeout when left on idle

                     You cannot deselect features!”

  238.     Dr Hunt installed the Closed Room version provided by Topalsson on 1 April 2020 on
           a laptop meeting the criteria specification provided by Topalsson for the purpose of
           reviewing it. The defects identified were set out in Appendix C to her first report and
           summarised as follows:

                     “a. Much of the necessary image and graphical data required is
                     missing or wrongly configured. This means that the various
                     colour and configuration options are unusable. Issues with
                     camera paths linked to hotspots also mean that switching views



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                     or activating hotspots leads to some very peculiar visual effects.
                     For example;

                          i. on first display the car changes colour and the doors open
                          and close;

                          ii. activating the boot open hotspot causes the side door to
                          open and the view to switch to the interior;

                          iii. changing orientation usually ends in a ‘jump to a new
                          position.

                     b. Activation of menus and hotspots is generally unreliable. It
                     can take several taps to successfully activate a hotspot and some
                     menus cannot be dismissed once activated. This makes
                     navigation very awkward because iPad features, such as
                     screenshot and copy/paste, have not been disabled, which leads
                     to some very unexpected results. These issues suggest that the
                     app had not been tested using a real iPad since these ‘touch’
                     related issues are not experienced when simulating an iPad
                     through a web browser.

                     c. The Summary functionality is clearly a work in progress with
                     multiple issues, in particular the summary does not reflect
                     changes that have been made to the configuration.”

  239.     A number of the defects were apparent from the videos/slides prepared by the technical
           experts and produced in court.

  240.     In cross-examination, Mr Britton did not accept the extent of the defects identified by
           Dr Hunt but agreed that some of them, including unreliable operation of hotspots, would
           need to be fixed in UAT prior to Go-Live:

                     “Q.         At this stage, 1 April, it is also clear, isn't it, that
                                 Topalsson was still developing and fixing Closed Room
                                 on and after 1 April; you are aware of that?

                     A.          Yes, they were still working on it. There were defects
                                 to be fixed.

                     …

                     Q.          … it would never, ever have exited UAT in the state we
                                 have just seen.

                     A.          I think there would undoubtedly have been defects that
                                 were found and needed to be fixed during UAT, as there
                                 always are.”

  241.     The incomplete and unsatisfactory state of Closed Room was recognised internally by
           Topalsson. In a slack message dated 16 April 2020 Mr Weiss suggested that a product
           review for Closed Room was required to discuss what needed to be done to get it into



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           a releasable state and within Confluence on 5 May 2020 Topalsson employees set out
           their assessment of the current status of product completion, including Closed Room:

                     “… we have accumulated a high amount of technical debt over
                     the last couple of months. This technical debt can be found in
                     almost every part of the software…

                     As this technical debt poses huge risk for future development and
                     documentation of quick fixes and workaround is very limited to
                     non-existing we should put focus on stabilisation and refactoring
                     our work. This will involve fixes, code deep diving, reworking,
                     retesting, etc.”

  242.     The incomplete state of Closed Room was recognised by Topalsson in communication
           with RRMC. On 23 April 2020 Topalsson’s Schedule of Deliverables included against
           DP3 Closed Room Pre-Release: SIT 95% achieved; Go-Live 80% achieved.

  243.     I find that Topalsson was under a contractual obligation to achieve Technical Go-Live
           in respect of Closed Room by 1 April 2020. Topalsson failed to achieve satisfactory
           completion of SIT or UAT in respect of Closed Room and there were critical defects in
           the software release as at the beginning of April 2020. Indeed, on Topalsson’s own
           assessment at 23 April 2020, Technical Go-Live had not been achieved. As a result,
           Technical Go-Live in respect of Closed Room was not achieved by 1 April 2020 or
           thereafter.

  CRIS

  244.     CRIS was a software component for rendering photorealistic images when demanded
           by other RRMC IT systems. It consisted of Topalsson’s Digital Twin Engine (DTE)
           with interface software and customisation for integration with various RRMC systems
           that required 2D image rendering services that previously relied on RRMC’s existing
           image service API, CoSy.

  245.     The replacement of CoSy formed part of the POS configurator as set out in Topalsson’s
           November 2019 proposed plan. The December Plan showed that the full POS
           configurator would be delivered through Release 3a by 25 May 2020.

  246.     The March Plan contained a date for Technical Go-Live in respect of CRIS of 23 April
           2020.

  247.     The Joint Statement produced by the technical experts states:

                     “1. We agree that a version of CRIS had been installed on
                     RRMC’s AWS at termination on instances intended for use in
                     SIT.

                     2. We agree that this installation does not function as intended,
                     probably because the DTE instances that were required and had
                     been deployed are no longer present. We agree there is no
                     evidence that CRIS achieved Technical Go-Live on or before 23
                     April 2020.



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                     3. We disagree whether CRIS could have achieved Technical
                     Go-Live on or before 23 April 2020 had Termination not
                     occurred.”

  248.     Mr Britton’s view is that CRIS could have achieved Technical Go-Live by 23 April
           2020 as it was reasonably functional and was installed on the BMW AWS
           infrastructure. Screenshots of CRIS being used show that it was operational and
           available on BMW’s AWS servers, albeit these appear to be intended for testing rather
           than production. Although Mr Britton accepts that the software was not deployed on
           production hardware, his view is that it could easily have been so deployed by
           repurposing the existing testing environment or by creating a new one and deploying to
           it. Technical Go-Live could then have been achieved within a matter of moments by
           reconfiguring the reverse proxies and repurposing the AWS instance on which it was
           running.

  249.     Dr Hunt’s view is that CRIS did not achieve Technical Go-live because it had yet to
           undergo SIT and had not in fact been deployed on a production instance prior to
           termination. By 22 April 2020 CRIS was undergoing internal testing and bug-fixing at
           Topalsson but had not entered SIT. In order to proceed into SIT Topalsson needed to
           resolve the remaining defects identified in their internal testing, deploy a revised
           version to BMW’s AWS and coordinate integration testing with RRMC’s existing
           supplier of the ordering configurator, Sulzer. On the reported progress of these tasks,
           her view is that it was not possible for CRIS to achieve Technical Go-Live by 23 April
           2020.

  250.     Simon Kottenhagen accepted in cross-examination that CRIS was not working at the
           beginning of April 2020.

  251.     At the Management Status Meeting on 7 April 2020 Topalsson reported that it would
           be unable to conclude all tasks by the due dates for CRIS. The status report of 7 April
           2020 stated that CRIS was in delay. Sprints 9, 10 and 11 were still open and Sprint 12,
           to deal with functionality spill over from these sprints, was in progress. It had not yet
           entered SIT and Topalsson proposed revised dates for (a) SIT entry on 19 April 2020;
           (b) UAT entry on 24 April 2020 and (c) Technical Go-Live on 27 April 2020. Thus
           Topalsson’s projected timeline was later than the agreed date in the March Plan of 23
           April 2020.

  252.     At the Jour Fixe meeting on 8 April 2020, Ms Biot suggested that work should stop on
           Closed Room and all efforts should be concentrated on CRIS and open DP10 issues.

  253.     At the Management Status Meeting on 14 April 2020 it was recorded that Sprint 12 had
           not been completed, test planning and preparation did not take place and had not been
           aligned, and therefore test entry was not yet possible.

  254.     At the Jour Fixe meeting on 15 April 2020 Mr Kottenhagen explained that testing had
           not started because the software for CRIS has not been deployed to the test system, as
           the architecture still had to be prepared. The SIT entry criteria required test cases for all
           user stories but the user stories and test cases remained outstanding.

  255.     During a Slack chat on 20 April 2020 Mr Kottenhagen noted that they had missed the
           window for SIT in respect of CRIS because of an incorrect request for access.



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  256.     The status report dated 21 April 2020 reported that Confluence pages for ITPM
           documentation were nearing completion, SIT test cases were specified and they were
           undergoing review.

  257.     On 21 April 2020 Mr Topal sent an urgent internal email identifying missing features
           for CRIS and stating:

                     “Currently we are far behind the deadlines And we have no time
                     anymore. We need you to fix all these by tomorrow Latest 12am
                     that we have any chance to deliver the product to our client.”



  258.     On 23 April 2020 Topalsson’s Schedule of Deliverables included against DP4 CRIS
           Release: SIT 75% achieved; Go-Live 50% achieved.

  259.     I find that Topalsson was under a contractual obligation to achieve Technical Go-Live
           in respect of CRIS by 23 April 2020. Topalsson failed to enter SIT or UAT in respect
           of CRIS and acknowledged in its internal discussions that it was far behind the deadline.
           Indeed, as at 7 April 2020 it informed RRMC that it would not meet the 23 April 2020
           date. By 23 April 2020 Topalsson accepted that SIT and Technical Go-Live had not
           been achieved. On that basis, Technical Go-Live in respect of CRIS was not achieved
           by 23 April 2020 and would not have been achieved even if there had been no
           termination.

  Conclusion on status at termination

  260.     In conclusion as at the date of termination, Topalsson had failed to comply with the
           March Plan:

           i)        Topalsson failed to achieve Technical Go-Live in respect of early IVT by 9
                     March 2020;

           ii)       Topalsson failed to achieve Technical Go-Live in respect of the Closed Room
                     configurator by 1 April 2020 or thereafter;

           iii)      Topalsson failed to progress the sprints and testing so as to be able to achieve
                     Technical Go-Live in respect of CRIS by 23 April 2020.




  Issue 3 – Reasons for delay

  261.     Topalsson’s case is that it was impeded in its performance by delays at the start of the
           project, including difficulties in obtaining access to RRMC infrastructure, lack of the
           necessary licences, changes to requirements and RPC’s poor performance. Further, it is
           said that delay was caused by imposition of the waterfall methodology on Topalsson.

  262.     RRMC’s case is that Topalsson was responsible for delays to the project through
           inadequate resourcing, management, planning and testing.



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  Delays at the start of the project

  263.     Ms Biot agreed in cross-examination that there was considerable delay to the project
           before any involvement on the part of Topalsson. The launch date for the Ghost model
           of May 2020 was fixed as early as 2017 but the RFI for the project was not issued until
           April 2019, by which time the project was already months behind the original timeline.
           The anticipated timeline contained in an appendix to the ITT showed the start of DP1
           in Q3 2019 but it did not in fact start until later and the first purchase order in respect
           of the project was not issued until 18 July 2019, when RRMC awarded the contract to
           Topalsson. Even then, as Mr Topal correctly pointed out in cross-examination, until the
           Agreement was in place on 11 October 2019, he was entitled to limit the time and
           resources allocated to the project. Hence, the timeline for the project was very tight
           from the outset.

  264.     Topalsson needed access to RRMC’s networks. Confluence was used to document
           meetings, ideas, technical drawings and processes. Jira was used to store user stories
           and sprint data. Mr Hoffmann’s evidence was that he supplied Topalsson with three
           BMW laptops in July 2019 and with virtual desktop instance (“VDI”) from about 18
           September 2019, pending set up of a leased line, which gave direct access to RRMC
           Jira and Confluence systems and was available on around 10 October 2019. In cross-
           examination he accepted that initially Topalsson encountered difficulties in using the
           leased line but explained that this was not caused by lack of access to Jira and
           Confluence but rather because Topalsson used the wrong URLs (web addresses).

  265.     Topalsson needed licences for the DeltaGen tools used to create the digital twin models.
           Mr Mokrusch accepted in cross-examination that Topalsson included prices for the
           necessary DeltaGen licences in its tender but they were removed for the purpose of
           reducing its bid in the BAFO and did not form part of the agreed price within the
           Agreement. Therefore, Topalsson was not entitled to payment for the licences. It agreed
           to bear those costs (in return for RRMC agreeing to bear the costs of the project
           management office) but took the decision to work on version 12 of DeltaGen, rather
           than version 13, which increased the time required to create each model.
           Notwithstanding that difficulty, 3D models were delivered by mid-October 2019.

  266.     Topalsson complains that there were changes to the requirements and/or scope creep in
           October/November 2019. Mr Hoffmann’s understanding was that this was part of the
           exercise in detailing the Business Requirements. Mr Wiedow accepted in cross-
           examination that the task of refining the Business Requirements into user stories was
           part of Topalsson’s responsibility under DP1 and that the generation of multiple user
           stories did not necessarily indicate any scope increase. Mr Kottenhagen accepted that
           he did not identify any scope creep against the Business Requirements or raise any
           change requests. Topalsson has failed to provide details of the alleged scope changes
           or to explain any impact they had on progress of the project. It is significant that it did
           not use the contractual change control mechanism and such claims are not supported
           by the contemporaneous documents.

  267.     At the outset of the project RPC was the project manager, responsible for setting up and
           agreeing a project timeline, with agreed milestones, with all relevant stakeholders,
           together with overall planning and control of the project plan. Mr Schemuth’s evidence
           is that although RPC initially submitted a response to the RFI, following a discussion
           with RRMC it agreed that, because of the size and nature of the project, it might be



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           better for it to join forces with Topalsson in submitting a tender. It was agreed with
           Topalsson that RPC would be a sub-contractor with responsibility for the Project
           Management Office and requirements management.

  268.     Three different staff members were appointed to the PMO role, namely, Martin
           Schnebbe, Alexandra Zoeller and Paolo Bassi, and Mark Thilo of RPC was brought in
           to oversee their work. RPC’s involvement in the project was not a success. Mr Topal
           considered that RPC failed to refine the business requirements to produce user stories,
           failed to provide adequate staffing of the PMO and caused delay. The relationship
           between Topalsson and RPC broke down in November 2019 and RPC left the project.

  269.     Mr Topal’s evidence is that he agreed to work with RPC because Ms Biot told him that
           if Topalsson engaged RPC as a sub-contractor for the project, it would win the tender.
           Regardless whether he felt under any pressure to collaborate with RPC, it was a
           commercial decision for him. For the purposes of the Agreement, RPC was Topalsson’s
           sub-contractor and Topalsson remained responsible for RPC’s performance.

  Agile v Waterfall methodology

  270.     As referred to earlier in this judgment, a recurring complaint raised by Mr Topal during
           the project was his desire to adopt an ‘agile’ approach to development and delivery of
           the software. Topalsson’s case is that RRMC’s insistence on a ‘waterfall’ straitjacket
           impeded progress and caused delay.

  271.     It is clear from Mr Topal’s evidence and the contemporaneous documents that he holds
           genuine and strong views as to the merits of the agile methodology. He was convinced
           that it was the appropriate method for both development and delivery of this project and
           that it was the only way in which the December Plan could be achieved.

  272.     The difficulty Mr Topal faces is that his preferred methodology was not reflected in the
           Agreement as executed by the parties. The ITT invited Topalsson to propose an agile
           or waterfall delivery approach as long as the Business Requirements in each specified
           Delivery Package were met and it was compliant with the relevant ITPM standards, in
           particular the ITPM Agile Project Phase Approach, an appendix to the ITT. That
           appendix set out the model approach that was required to be followed, including the
           development of user stories that met the Definition of Ready before the sprints could
           commence and Definition of Done after testing and implementation criteria were
           satisfied. It also stipulated the testing strategy that required SIT and UAT to be carried
           out and fully documented in order to complete each Delivery Package. The ITT was
           clear that binding milestone dates would be fixed for the Delivery Packages and that
           the payment schedule would be based on the defined milestone plan.

  273.     In its ITT response, Topalsson confirmed that the software development would follow
           an agile process but it agreed to comply with the requirements of the ITPM. Ms Biot
           clarified the requirement for a waterfall approach to delivery at the meeting on 7
           October 2019 and Mr Topal agreed to implement waterfall gateways.

  274.     This hybrid agile/waterfall methodology was reflected in the contractual framework by
           the mandatory ITPM processes, staged delivery and payment structure linked to an
           agreed delivery plan.




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  275.     Despite Mr Topal’s persistence in trying to persuade RRMC as to the superiority of the
           agile methodology, Topalsson took steps to follow the hybrid approach specified in the
           Agreement by developing plans incorporating the ITPM phases, gateways and artefacts,
           including the December Plan, the February proposal and the March Plan. At the meeting
           on 28 November 2019 it was confirmed that this was a waterfall fixed price project, as
           set out in Mr Brzank’s memo circulated after the meeting. On 5 December 2019, Mr
           Mokrusch confirmed when submitting proposed billing plans to RRMC that the project
           was: “Waterfall Approach + ITPM artefacts with the Agile Dev approach.”

  276.     Although Topalsson’s case is that the imposition of waterfall artefacts acted as an
           artificial constraint on its ability to progress development and delivery of the project,
           when on 25 January 2020 Ms Biot challenged Mr Topal to specify the elements of the
           waterfall approach that were impeding or preventing Topalsson from achieving the
           milestones, there was no reply. The pleaded case amounts to no more than assertion
           that an alternative approach would have been better. Against the express terms of the
           Agreement, that is not sufficient to establish a claim that RRMC, rather than Topalsson,
           impeded progress or was responsible for the delay.

  Lack of resourcing and planning

  277.     RRMC’s case is that Topalsson failed to apply and maintain sufficient numbers of
           appropriately qualified and experienced personnel for the project, and did not have the
           expertise, ability and resource to perform the Agreement. Topalsson’s position is that
           turnover and absence on the project were not excessive. Some turnover of personnel
           and absences on a project of this scale were to be expected. Insofar as they were greater
           than expected, at least in part this was the result of RRMC’s micromanagement and
           increasing demands.

  278.     There is ample evidence that resources were very tight on this project and there were
           continuing concerns raised by Topalsson employees, such as Mr Wiedow, Ms Von
           Schwichow, Mr Zlatev, Mr Kottenhagen and Dr Reichl, that additional resources were
           necessary. This was exemplified by Mr Wiedow’s email to Mr Topal on 29 February
           2020:

                     “• Key roles were not filled (at the right time) or they have been
                     constantly affected by loss or replacement of staff.

                     • This staff turnover makes it impossible for expertise,
                     responsibilities, and processes to be sustainably built up with the
                     necessary stability.

                     • Specialist managers with the necessary expertise are lacking
                     (or the expertise cannot be built up) or specialist knowledge is
                     concentrated with Florian and you, and due to our own
                     knowledge bottleneck situation with existing expectations, it
                     cannot be made available as necessary.

                     • Steering and managerial rolls cannot be carried out to the extent
                     that is necessary …

                     …



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                     • For 7 months I have been constantly putting out fires to resolve
                     all the emerging gaps and losses in this project.

                     • Since the start of the year, and particularly over the last five
                     weeks, the problems have got gradually worse, as the project
                     organisation that the client wants puts all the responsibilities
                     onto me, while at the same time the spectrum of project activities
                     increasingly grows, the problems mentioned above largely
                     persist or there is a renewed threat of losing yet more project
                     staff.

                     • Operative tasks, which really should be handled in the teams or
                     by other staff members (who are currently lacking or have been
                     lost), land on my desk. This means that I cannot fully take care
                     of my actual management duties. Furthermore, in the context of
                     the client’s expectations, the existing operative tasks can only be
                     carried out by me doing a lot of extra work, working late into
                     evenings and at weekends, and in most cases it is still not
                     possible to complete them.

                     • Structures, responsibilities and processes cannot be defined and
                     organised for the reasons listed above. These requirements are
                     not, as originally planned, supported by the appropriate experts
                     (e.g. IT project manager), and are also hindered and rendered
                     impossible by the problem of staff losses and turnover
                     mentioned above.

                     • As I have mentioned, for several months now, my workload
                     has consistently exceeded a reasonable maximum. Up until now,
                     I have accepted possible adverse effects on my health and
                     performance, but I will not be able to continue with this. This
                     situation has now also been going on too long.

                     …

                     I am increasingly considering leaving my short-term position in
                     the project and my long-term position at the company. …”

  Conclusion on cause of delay

  279.     I accept Topalsson’s case that there was some initial delay to progress caused by the
           late start of the project. It does not follow from the initial delay that Topalsson was
           exonerated from any subsequent failure to meet the agreed delivery milestones. Under
           the terms of the Agreement executed by the parties, Topalsson undertook to provide the
           services and deliverables for the project in accordance with the agreed milestones. Mr
           Hoffmann assisted Topalsson in producing the December Plan, which implicitly
           acknowledged the impact of early delay by splitting delivery of the POS configurator
           into separate releases and deferring some of the functionality for IVT and CMS. This
           approach extended the project by months but enabled RRMC to benefit from delivery
           of the early releases so as to meet the planned launch date of the Ghost. Having




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           submitted the December Plan and received approval of the same, Topalsson was
           obligated to comply with it.

  280.     I reject the other complaints made by Topalsson for the reasons set out above. The most
           likely reason for the delay to progress was the lack of appropriately skilled resources,
           either because Topalsson took on a project that simply was beyond its capabilities, or
           because it struggled to recruit and retain the necessary staffing levels.

  281.     In conclusion, on this issue I find that Topalsson was not impeded in its progress, or
           prevented from performing its obligations by RRMC. In particular, Topalsson has not
           established any delay for which RRMC was responsible, that caused or contributed to
           Topalsson’s failure to meet the December Plan or the March Plan.

  282.     It follows that Topalsson was in breach of its obligation to meet the dates for delivery
           set out in the March Plan.

  Further alleged breaches

  283.     RRMC relies on further alleged breaches which, on analysis, do not amount to breaches
           that go to the root of the contract so as to constitute repudiatory breaches, namely,
           hosting confidential information on the public cloud and using sub-contractors without
           permission.

  284.     RRMC complains that Topalsson hosted RRMC’s confidential information, RRMC
           data and/or RRMC materials on the public cloud, including highly confidential 3D
           models for the new Ghost, without RRMC’s knowledge or consent. Reliance is placed
           on the evidence of Mr Weise, who explained that he was instructed to set up
           infrastructure that was capable of hosting the Ghost model on the Topalsson AWS
           infrastructure. By implementing a custom configuration directly on Topalsson’s
           firewall, although the DTE was run on Topalsson’s AWS account, the stream received
           at RRMC appeared to come from one of Topalsson’s internally hosted DTE machines.

  285.     In cross-examination Dr Hunt confirmed that AWS installed in a client’s own premises
           is private; therefore, hosting on Topalsson’s AWS rather than the BMW AWS was not
           the public cloud. Further, she confirmed that AWS infrastructure was not inherently
           insecure and did not in itself pose any additional risk, compared to storing data on
           Topalsson’s premises. On that basis, even if this amounted to a technical breach of the
           Agreement, it would not constitute repudiatory breach.

  286.     RRMC complains that Topalsson subcontracted parts of its obligations to third parties
           without obtaining RRMC’s consent. Daniel Plonus of Solvin was engaged by
           Topalsson to configure the MS project system for transferring Excel files into readable
           format, Frog Design was engaged to create presentation templates, including vehicle
           models, and Uwe Zahn was engaged to create background 3D environments that could
           be used in the configurator. Mr Topal’s evidence was that, although formal consent was
           not sought, Ms Biot was aware of the use of third parties on the project and no objection
           was made. I note that Frog was identified as part of Topalsson’s ‘partner portfolio’ in
           the pitch presentation in May 2019. Regardless whether the use of sub-contractors
           amounted to a technical breach of contract, or not, there is no evidence that it had any
           impact on the progress or quality of the software solution.




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  Issue 4 - Termination

  287.     As set out above, clauses 5.3.7 and 5.8 of section 7 of the Agreement imposed on
           Topalsson an obligation to meet the agreed milestone dates in the December Plan and
           made time of the essence in respect of the same.

  288.     Further, RRMC explicitly made time of the essence in respect of the revised dates for
           delivery set out in the March Plan, pursuant to which RRMC agreed to accept delivery
           of a reduced scope by later dates.

  289.     The First Termination Notice sent on 17 April 2020 relied on repudiatory breach on the
           part of Topalsson by reference to its failure to meet the December Plan dates. That
           notice was erroneous because RRMC had already agreed to the revised dates in the
           March Plan and, as a result, was not entitled to rely on breaches of the December Plan
           as repudiation by Topalsson.

  290.     A party who is alleged to have repudiated a contract, by purporting to terminate at
           common law in reliance on mistaken reasons, can subsequently rely on another defence
           that would have been available to justify retrospectively what would otherwise be an
           unlawful termination: The Mihalis Angelos [1971] 1 QB 164 (CA) per Lord Denning
           at 195-196.

  291.     In this case, it is immaterial that the First Termination Notice was erroneous, whether
           or not it could have been justified on grounds other than those articulated at the time.
           Topalsson rejected the notice as invalid, affirming the contract, and RRMC served the
           Second Termination Notice on 22 April 2020.

  292.     Clause 13.11 of the Agreement gave RRMC an express contractual right to terminate
           the Agreement if Topalsson failed to meet the agreed delivery or milestone dates:

                     “If in the reasonable opinion of RRMC the Supplier fails to
                     perform the Services in accordance with this Agreement or to
                     deliver Deliverables by the applicable delivery dates or
                     milestone dates or if RRMC rejects the Deliverables, without
                     limitation to any other of its rights or remedies, RRMC shall
                     have the following rights:

                     …

                     13.11.3 to terminate this Agreement in whole or part with
                             immediate effect by giving written notice to the
                             Supplier.”

  293.     That provision would not entitle RRMC to terminate for any breach, no matter how
           trivial or inconsequential: Rice (t/a The Garden Guardian) v Great Yarmouth Borough
           Council [2003] TCLR 1 per Hale LJ at [17]-[24]; Obrascon Huarte Lain SA v Her
           Majesty's Attorney General for Gibraltar [2014] EWHC 1028 (TCC) per Akenhead J
           at [323]. What would amount to a significant or substantial breach justifying
           termination under the Agreement must depend on the factual circumstances at the time
           of termination.




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  294.     If Topalsson had missed the delivery dates in the March Plan by a few hours but
           otherwise achieved Technical Go-Live in respect of the software deliveries, it is
           unlikely that RRMC could justify reliance on clause 13.11. However, Topalsson’s
           failure to satisfy the March Plan could not be described as a ‘near miss’. Technical Go-
           Live for IVT was achieved 11 days late but it was not achieved for Closed Room or
           CRIS and Topalsson’s own reporting indicated that slippage to the sprints and testing
           meant that the delivery dates would not be met. When considered against the earlier
           slippage from the December Plan, Topalsson’s failure to meet the March Plan dates
           was a material breach going to the root of the contract.

  295.     Further, it is open to parties to agree that, as regards a particular obligation, any breach
           shall entitle the party not in default to treat the contract as repudiated: Bunge
           Corporation v Tradax Export SA [1981] 1 WLR 711, per Lord Wilberforce at 715E.

  296.     Where, as in this case, time is of the essence, it is a condition of the contract and
           therefore delay in performance is treated as going to the root of the contract without
           regard to the magnitude of the breach: Lombard North Central Plc v Butterworth [1987]
           Q.B. 527 CA per Mustill LJ at 535-6:

                     “1. Where a breach goes to the root of the contract, the injured
                     party may elect to put an end to the contract. Thereupon both
                     sides are relieved from those obligations which remain
                     unperformed.

                     2. If he does so elect, the injured party is entitled to compensation
                     for (a) any breaches which occurred before the contract was
                     terminated, and (b) the loss of his opportunity to receive
                     performance of the promisor's outstanding obligations.

                     3. Certain categories of obligation, often called conditions, have
                     the property that any breach of them is treated as going to the
                     root of the contract. Upon the occurrence of any breach of
                     condition, the injured party can elect to terminate and claim
                     damages, whatever the gravity of the breach.

                     4. It is possible by express provision in the contract to make a
                     term a condition, even if it would not be so in the absence of such
                     a provision.

                     5. A stipulation that time is of the essence, in relation to a
                     particular contractual term, denotes that timely performance is a
                     condition of the contract. The consequence is that delay in
                     performance is treated as going to the root of the contract,
                     without regard to the magnitude of the breach.

                     6. It follows that where a promisor fails to give timely
                     performance of an obligation in respect of which time is
                     expressly stated to be of the essence, the injured party may elect
                     to terminate and recover damages in respect of the promisor's
                     outstanding obligations, without regard to the magnitude of the
                     breach.”



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  297.     In such circumstances, the innocent party is not obliged to accept a late tender of
           performance, absent any waiver or estoppel: Union Eagle Ltd v Golden Achievement
           Ltd [1997] A.C. 514 per Lord Hoffmann at p.518:

                     “It is true that until there has been acceptance of a repudiatory
                     breach, the contract remains in existence and the party in breach
                     may tender performance. Thus a party whose conduct has
                     amounted to an anticipatory breach may, before it has been
                     accepted as such, repent and perform the contract according to
                     its terms. But he is not entitled unilaterally to tender performance
                     according to some other terms.”

  298.     The Second Termination Notice relied on Topalsson’s failure to comply with the March
           Plan, in support of RRMC’s position that it was entitled to terminate under clause 13.11
           of the Agreement and/or at common law.

  299.     In my judgment the Second Termination Notice was valid in terminating Topalsson’s
           appointment as supplier under the Agreement. The March Plan was binding on the
           parties. The express terms of the Agreement and Ms Biot’s email of 5 March 2020 made
           time of the essence. Topalsson failed to meet the delivery dates set out in the March
           Plan. That failure amounted to a breach of condition, entitling RRMC to terminate
           under clause 13.11 of the Agreement or at common law for repudiatory breach.

  Issue 5 - Misrepresentation

  300.     The allegations of misrepresentation are set out in paragraphs 81 to 84 of the Re-
           Amended Defence and Counterclaim. The representations relied on are as follows:

                     “81. At a presentation on 22 May 2019, and in order to induce
                     the Defendant to enter into the Agreement, Mr Topal represented
                     to the Defendant that:

                     81.1.       The Claimant’s previous experience included the ‘Audi
                                 City Partner’ project (see page 22 of its written
                                 presentation). At the meeting, Mr Topal said that this
                                 involved the roll out worldwide of a configurator which
                                 allowed for dynamic visualisation and real- time
                                 rendering of images.

                     81.2.       The Claimant had been an ‘Audi Digitalisation Strategy
                                 Partner since 2010’ (see page 22 of its presentation).
                                 The representation was intended to give the impression
                                 of a substantial and on-going relationship with Audi and
                                 the Defendant so understood.

                     81.3.       The Claimant had done ‘All 3D Model Deliveries for
                                 AUDI AG’ (see page 26 of its presentation) by which
                                 the Claimant intended the Defendant should understand
                                 (and the Defendant so understood) that the Claimant
                                 was the sole supplier, which was responsible for and had




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                                 delivered all of the 3D models of Audi cars that Audi
                                 was using.

                     81.4.       The Claimant’s experience included the ‘Audi Training
                                 Center Airport Munich’, which involved an ‘Audi City
                                 3D Real Time 12K Powerwall’ i.e. a configurator as
                                 described above (see pages 22 and 29 of the
                                 presentation).

                     81.5.       By reference to the four sub-paragraphs above, the
                                 Claimant represented and intended the Defendant to
                                 understand (and the Defendant so understood) that the
                                 Claimant had a successful, substantial, on-going
                                 relationship with Audi, which had resulted in the
                                 worldwide (and local) roll out of a configurator which
                                 allowed for dynamic visualisation and real-time
                                 rendering of images.

                     Together, the ‘Audi Representations’. The Audi representations
                     were continuing representations to the date the Agreement was
                     entered into.”

  301.     It is pleaded at paragraph 82 that in reliance on the Audi Representations, RRMC was
           induced to enter into the Agreement.

  302.     At paragraph 83 it is alleged that the representations were false:

                     “83.1.      The Claimant did not deliver the Audi City Partner
                                 project worldwide. During a pre-project phase
                                 involving around 20 other suppliers, the Claimant
                                 provided a proof of concept to Audi, but its proof of
                                 concept was not taken further by Audi and the Claimant
                                 was not involved in the actual project.

                     83.2.       The Claimant had not been and/or was no longer an
                                 ‘Audi Digitalisation Strategy Partner’. The phrase was
                                 meaningless and invented by the Claimant. At the time
                                 it was made, alternatively at the date of the Agreement,
                                 the Claimant did not have any sort of relevant or
                                 meaningful relationship with Audi.

                     83.3.       The Claimant was one of a number suppliers for the
                                 delivery of 3D images for Audi. As far as the Defendant
                                 is aware, Audi only used the Claimant for two (of many)
                                 car models as the Claimant’s work was sub-standard.
                                 Audi relied upon its other suppliers for the rest.

                     83.4.       The Claimant only provided a video for the ‘3D
                                 Powerwall’ at the Audi Training Center at Munich
                                 Airport.




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                     83.5.       The Claimant did not have an on-going relationship
                                 with Audi of any substance or at all.”

  303.     At paragraph 84 is it pleaded that the Audi Representations were made without
           reasonable belief in their truth and/or negligently.

  304.     RRMC relies on the succinct summary of the legal principles set out in Burrows: A
           Restatement of the English Law of Contract (2nd Ed., 2020) at paragraph 36:

                     “(1)        A contract is voidable where a party to the contract (‘the
                                 claimant’) entered into it in reliance on a
                                 misrepresentation, whether fraudulent, negligent or
                                 innocent, by the other contracting party (‘the
                                 defendant’) or, in certain circumstances … by a third
                                 party.

                     (2)         A misrepresentation is a false representation, by words
                                 or conduct, of present fact or law.

                     (3)         A statement of intention contains a representation as to
                                 the present state of mind of the person making it.

                     (4)         A statement of opinion contains a representation that the
                                 person making the statement holds that opinion; and in
                                 certain circumstances (as where the person making the
                                 statement may be expected to have special knowledge
                                 in relation to it) a statement of opinion contains a
                                 representation that the person making the statement has
                                 reasonable grounds for holding that opinion.

                     (5)         To prove reliance it must be shown that the claimant
                                 would not have entered into the contract (whether at all
                                 or on the same terms) but for the misrepresentation
                                 unless –

                                 (a)    the misrepresentation was fraudulent, in which
                                        case the misrepresentation need merely have been
                                        a reason for entering into the contract or present
                                        in the claimant's mind at the time the contract was
                                        entered into; or

                                 (b)    the misrepresentation and another factor
                                        rendering the contract voidable (for example,
                                        duress) were each independently sufficient to
                                        induce the claimant to enter into the contract.”

  305.     The representations relied on are said to have been made by Topalsson in a pitch
           presentation meeting to RRMC on 22 May 2019, at which Mr Topal showed RRMC
           3D models to demonstrate the capability of Topalsson’s software and a PowerPoint
           presentation, copies of which were sent subsequently to RRMC with Topalsson’s
           tender.



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  306.     Present at the pitch presentation were Mr Topal, Dr Reichl, Mr Mokrusch and Oliver
           Meister from Topalsson; Jasmine Perera, Mr Schemuth and Mr Eigenstetter from RPC;
           Ms Biot, Mr Hoffmann, Mr Scott, Mr Litster, and Daniel Cabanillas from RRMC;
           Laura Clowsley (BMW Group’s Purchasing team), Holger Hansmann (BMW Group’s
           IT team) and Paul Comper (Product team).

  307.     Ms Biot’s understanding of the pitch presentation meeting is set out in her first witness
           statement:

                     “The slides included information about Topalsson’s previous
                     experience, and this included that they had worked on the ‘Audi
                     City Partner’ project; that Topalsson had been an ‘Audi
                     Digitalisation Strategy Partner since 2010’; that Topalsson had
                     done ‘All 3D Model Deliveries for AUDI AG’; and that its
                     experience included the ‘Audi Training Centre Airport Munich’,
                     involving an ‘Audi City 3D real Time 12K Powerwall’. I was not
                     familiar with the descriptions ‘Audi City Partner’ or ‘Audi
                     Digitalisation Strategy Partner’, but I understood them to mean
                     that Topalsson had an important long term relationship with
                     Audi and had done a lot of work for them.

                     Kuby expanded on the information provided in the slides during
                     the presentation. I remember he mentioned that, for Audi,
                     Topalsson were involved in the worldwide roll out of a
                     configurator allowing for dynamic visualisation and real-time
                     rendering of images. He specifically mentioned that they had
                     solved the problem of scalability of this solution, which is a
                     problem most companies struggle with. I specifically remember
                     Kuby making this statement, because the fact that Topalsson had
                     experience of a worldwide roll out and had solved this problem
                     for a big car manufacturer was notable for me. It showed that
                     Topalsson had been involved in providing not just a small project
                     but a global configurator solution, to a large OEM comparable
                     to the BMW Group. The project we were tendering for also
                     included the provision of 3D models (within DP10) and
                     therefore Topalsson’s experience in providing all 3D model
                     deliveries to Audi was also highly relevant. My clear
                     understanding from Kuby’s presentation was that Topalsson was
                     the sole supplier of 3D models to Audi.”



  308.     Little can be gleaned from the slides. On page 22, there are tiles stating: “Audi City
           Partner”, “Audi Digitalisation Strategy Partner since 2010” and “Audi Training Center
           Airport Munich”. On page 26 the caption reads: “All 3D Model Deliveries for AUDI
           AG” and on page 29 the caption reads: “Audi City 3D Real Time 12K Powerwall”. No
           details or further information on these topics are contained on the slides.

  309.     Mr Topal’s evidence is that the written representations on the slides were true.
           Regarding the statement “Audi City Partner”, he stated that Topalsson had been
           involved with Audi City since 2012:



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                     “Topalsson planned the Audi City in Berlin together with our
                     partner, BB Onsite GmbH (“BB Onsite”). As part of that,
                     Topalsson developed and installed the technology for the Ultra
                     3D Power Wall for the Audi City in Berlin. Topalsson also
                     prepared strategy maps for Audi, for different Audi City
                     projects.”

  310.     Mr Topal stated that the statement “Audi Digitalisation Strategy Partner since 2010”
           did not have any specific meaning but that Topalsson had been supporting Audi on
           digitalisation strategy, especially in relation to Audi Cities, at the time, and at a FMX
           convention. Audi’s sponsorship materials described Topalsson as an “Audi official
           partner”.

  311.     Regarding the statement “Audi Training Center Airport Munich”, Mr Topal explained
           that Topalsson was heavily involved in the Audi Training Centre, working on planning
           the Power Wall and projection areas at the Audi Training Centre, as well as the
           visualisation and demonstration of new product hubs. When challenged in cross-
           examination he stated:

                     “I don't accept we only provided a 3D power wall hardware. We
                     provided software, we provided content, we provided
                     renderings, we provided the whole imagery. We provided also
                     software that produced realtime imagery.

                     … all the models that we have been responsible for have been
                     used in all configurators worldwide of Audi.”

  312.     Mr Topal explained that Topalsson developed multiple digital products for Audi,
           including the first real-time configurator in 2014 for Audi’s sport models. Topalsson
           also built Audi’s ‘used car’ configurator which rendered in real-time and showed
           second hand cars, together with virtual reality real-time configurator for Audi whereby
           there was a configurator in the virtual reality headset. He stated that Topalsson’s 3D
           data was used by Audi in configurators across the world.

  313.     In his witness statement, Mr Teschner of Audi (who was not called to give oral evidence
           but in respect of whom a Civil Evidence Act notice was served) confirmed in general
           the connection between Topalsson and Audi set out in the pitch presentation slides. He
           stated that in 2014 he became involved in a substantial project in which Topalsson
           examined how Audi created its models to build a virtual car. From November 2016, he
           was involved in setting up a framework agreement involving the appointment by Audi
           of third-party agencies to produce new virtual models for Audi (the process for model
           creation having been delivered by Topalsson) and that Topalsson was selected as one
           of the framework third parties.

  314.     Documents produced by Topalsson demonstrated that Topalsson was indeed working
           with Audi in 2014 on visualisation of Audi RS models, providing consultancy work
           with a value of at least €535,000, and further, that it continued to work with Audi in
           2019.




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  315.     Although not referred to in her witness statements, in cross-examination Ms Biot stated
           that the oral statement alleged to have been made by Mr Topal at the meeting was made
           outside the main presentation:

                     “What he said, and that was not in the actual pitch meeting but I
                     think was either during the break or before or after the meeting
                     but on the same day, I remember Florian Reichl was there as
                     well, we were sort of joking about the configurator because all
                     the bidders had mentioned that they had done work for the Audi
                     configurator, and Mr Topal told me the big difference with
                     Topalsson was they had actually built the configurator for Audi
                     and that that configurator was rolled out worldwide and they had
                     solved the problem of the scalability.”

  316.     She could not recall whether any of the other bidders said that they supplied 3D models
           to Audi but accepted that they might have said it.

  317.     Mr Hoffmann’s evidence in his statement was:

                     “I specifically recall that Kuby said that Topalsson had done a
                     global roll out for Audi of a showroom configurator 3D
                     solution.”

  318.     However, when he was challenged in cross-examination, he could not recall those
           words:

                     “Q. Let me ask you a very specific question, which admits to a
                     yes or no answer: do you specifically recall Kuby saying that
                     Topalsson had done a global rollout for Audi of a showroom 3D
                     configurator solution?

                     A. I don't remember those words.”

  319.     Messrs Brzank, Scott and Litster were unable to recall any specific details as to what
           was said at the pitch presentation or other early meetings.

  320.     Mr Topal stated in cross-examination that he did not make the oral statement attributed
           to him by Ms Biot:

                     “So I never said that we rolled out as a small company the
                     worldwide only configurator of Audi. Even Audi has I think 18
                     different configurators worldwide for different stakeholders in
                     markets, in-house and NGOs -- national sales organisations. ”

  321.     Drawing together the available evidence, I find that the statements set out in the slides
           used at the pitch presentation on 22 May 2019 were substantially true. The slides
           provide scant information on which to build a case of misrepresentation. Mr Teschner’s
           statement and the contemporaneous documents produced by Topalsson support Mr
           Topal’s account of his historic and ongoing work for Audi. Ms Biot’s recollection of
           what was said at the meeting must be faulty; the account in her oral testimony was not
           in her written statements, it is not supported by any other witness and was contradicted



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           by Mr Topal in his written and oral evidence. On that basis, I find that Mr Topal did
           not make the oral statement now attributed to him, namely, that Topalsson had rolled
           out worldwide a configurator for Audi.

  322.     In any event, there is no evidence that RRMC was induced to enter into the Agreement
           in reliance on the alleged Audi Representations. On 21 May 2019, just before the pitch
           presentation meeting, the formal ITT was issued. On 3 June 2019 Topalsson submitted
           its formal tender response to RRMC. Each bid was assessed against specific weighted
           criteria by the RRMC team and Topalsson scored highly over a number of categories.
           The Technical Recommendation stated that all offers and delivered visual material had
           been considered for the purpose of selecting the technically compliant bidders, who
           were then ranked based on price. Topalsson’s bid was the lowest in price out of the
           technically compliant bids. As Ms Biot agreed in cross-examination, the final decision
           to award the contract to Topalsson was made by the purchasing department, following
           commercial negotiations, and she had no involvement in that process.

  323.     In conclusion on this issue, RRMC has failed to establish any case of actionable
           misrepresentation.

  Issue 6 - Quantum

  324.     RRMC claims damages for repudiatory breach; alternatively termination claims under
           the Agreement.

  325.     The established principle on which damages are awarded for breach of contract is that
           they are compensatory, intended to give effect to the contractual bargain as set out in
           Robinson v Harman (1848) 1 Exch. 850 per Parke B p.855:

                     “The rule of the common law is, that where a party sustains a
                     loss by reason of a breach of contract, he is, so far as money can
                     do it, to be placed in the same situation, with respect of damages,
                     as if the contract had been performed.”

  326.     This principle has been re-affirmed in many cases, including: The Golden Strait
           Corporation v Nippon Yusen Kubishika Kaisha [2007] UKHL 12 (HL) per Lord
           Bingham at [9] and Lord Scott at [29]; Morris-Garner v One Step (Support) Ltd [2018]
           UKSC 20 per Lord Reed at [35].

  327.     The usual basis on which such damages are calculated is a ‘net loss’ approach, whereby
           any gains resulting from the breach (such as savings made as a result of release from
           future performance) must be set off against expenses caused by the breach (such as cost
           of replacement) and gains prevented by the breach (such as loss of profits).

  328.     The ‘net loss’ approach is reflected in Section 7 of the Agreement, which contains
           express provisions for ascertaining the sums due to each party on termination, including
           the following:

           i)        Clause 13.10:

                     “RRMC may reject any of the Deliverables which in its
                     reasonable opinion do not conform with the Specification or



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                     Purchase Order or are otherwise incomplete, delivered late or
                     damaged or do not comply with the terms of this Agreement. ”

           ii)       Clause 13.11:

                     “If in the reasonable opinion of RRMC the Supplier fails to
                     perform the Services in accordance with this Agreement or to
                     deliver Deliverables by the applicable delivery dates or
                     milestone dates or if RRMC rejects the Deliverables, without
                     limitation to any other of its rights or remedies, RRMC shall
                     have the following rights:

                     “13.11.3           to terminate this Agreement in whole or part with
                                        immediate effect by giving written notice to the
                                        Supplier;

                     …

                     13.11.5            to perform the relevant Services itself or purchase
                                        substitute services from a third party and recover
                                        from the Supplier any loss and additional costs
                                        incurred in doing so;

                     13.11.6            to have all relevant Charges associated to the
                                        specific failure to supply the Deliverables or
                                        perform the Services previously paid by RRMC
                                        to the Supplier under this Agreement refunded by
                                        the Supplier;

                     …

                     13.11.8            to hold the Supplier accountable for any costs,
                                        loss or expenses incurred by RRMC … ”

           iii)      Clause 14.8:

                     “RRMC shall be entitled to set off any Charges due to the
                     Supplier under this Agreement against any amount owed by the
                     Supplier to RRMC under this Agreement.”

           iv)       Clause 26.1:

                     “Upon termination of this Agreement by RRMC for any reason:

                     26.1.1 RRMC’s sole liability shall be to pay the Supplier the
                            proportion of the Charges applicable to the Services
                            carried out prior to termination and any outstanding
                            unavoidable commitments necessarily and solely
                            incurred in performing this Agreement prior to
                            termination that are not reflected in such Charges.




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                     26.1.2 … RRMC shall not be obliged to pay any Charges for
                            Services which at the date of termination RRMC is
                            entitled to reject or has already rejected.”

           v)        Clause 20:

                     “…the total liability of either Party to the other under this
                     Agreement shall be limited in aggregate for all claims no matter
                     how arising to the amount of €5m (five million euros).”

  329.     The Agreement contains a complete scheme for allocating liabilities and entitlements
           as between Topalsson and RRMC on termination. Thus, the express terms of the
           Agreement require the parties to carry out the following accounting exercise:

           i)        calculation of the sums due to Topalsson on termination;

           ii)       calculation of the sums due to RRMC on termination;

           iii)      calculation of the net sum due to Topalsson or RRMC;

           iv)       application of the cap on liability.

  330.     Topalsson seeks to argue that the set-off exercise to establish the net sum due should
           be carried out after the application of the cap on liability to the sums calculated as due
           to either party. In this case the effect would be that if RRMC established an entitlement
           to damages in excess of the cap of €5,000,000, that sum could then be reduced by any
           sums found to be due to Topalsson. I reject that argument because it is contrary to the
           express provisions in the Agreement.

  331.     Reliance is placed on the rationale explained in The Tojo Maru (No.1) [1969] 2 Lloyd’s
           Rep 193 per Denning MR at 203:

                     “Suppose a laundry has a clause limiting their liability to 10s. for
                     any article that was damaged or lost, and the customer agrees to
                     it ... The laundry washes a lot of articles in one week at a charge
                     of £2, but during the next week loses a shirt worth £3. It seems
                     to me that the laundry ought to be paid £2 for the work done, and
                     to be able to limit its liability for the shirt to 10s.. Equity does
                     not in that case require a set-off of the £3 against the £2, but only
                     of the 10s. against the £2. Were it otherwise, the clause could be
                     rendered useless by an adroit customer. The customer would
                     only have to let his laundry bill fall into arrear, and he could get
                     round the clause. I do not like these limitation clauses, but, if
                     they are truly agreed between the parties-or provided by statute-
                     we ought to give effect to them.”

  332.     In in that case, the limitation on liability was expressed as applicable to any article that
           was damaged or lost. Therefore the cap was required to be applied separately to each
           article damaged or lost. In contrast, under the Agreement, the cap on liability is
           applicable to the total liability of either party to the other in aggregate for all claims no
           matter how arising. The total liability of either party to the other requires the application



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           of the above provisions to ascertain the balance of sums due or payable. On a proper
           construction of the express terms agreed between the parties, under the Agreement the
           accounting exercise to determine the net sum due to or from each party must be carried
           out before the cap is applied.

  Sums due to Topalsson

  333.     Under clause 26.1 of Section 7, Topalsson is entitled to the proportion of the Charges
           applicable to the Services carried out prior to termination. I accept Topalsson’s
           argument that on a plain and natural meaning of the words used in the clause, it is
           entitled to a proportionate payment in respect of partially and fully completed Delivery
           Packages.

  334.     Topalsson’s case is that it completed, and therefore is entitled to payment for, the
           following proportions of each Delivery Package based on an assessment of work done
           carried out by Mr Mokrusch as at 23 April 2020:


             DP         Description                        Contract Price € % Assessed    Value €


             1          Analysis and alignment                    272,903 100             272,903


             2          Initial back end and rule                 885,749 82.23           728,370
                        engine


             3          POS Configurator                        1,314,025 56.27           739,356


             4          Web Configurator                          970,151 60.25           584,516


             6          Ordering integration                      257,736 10               25,774


             7          Pricing integration                       161,234 10               16,123


             10         3D     data          preparation        2,393,318 23              558,921
                        process


             13         Operation and maintenance               2,794,885 11              301,617


             TOTAL                                              9,050,001                3,227,580




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  335.     It is recognised that the exercise carried out by both parties was a difficult one, based
           on qualitative assessment rather than precise measurement. This is a result of limited or
           incomplete evidence in Jira and the division of functionality to be delivered under the
           March Plan which was not reflected in sub-divisions of the Delivery Packages by value.

  336.     I accept Mr Mokrusch’ assessment that DP1 was achieved in full, as evidenced by
           section 3.1.2 of the Business Proposal and the reliance placed by RRMC on the fixed
           milestone dates set out in the December Plan. However, the remaining assessments are
           wildly over-optimistic as to the extent of completion achieved. For the reasons set out
           in Issue 1 above, Topalsson was obliged to comply with the requirements for testing as
           set out in the ITPM documents but failed to satisfy those requirements in respect of
           many of the deliverables. Therefore, I am unable to accept the assessment by Mr
           Mokrusch as reliable.

  337.     Dr Hunt carried out a similar but more detailed exercise, set out in Appendix D to her
           first report. She has explained the evidence which she used to reach her assessment as
           to the extent of completion of each Delivery Package. With the exception of DP1 which,
           as set out above, I consider was completed in full, I accept Dr Hunt's assessment as the
           best evidence before the court.

  338.     Accordingly, I find that the extent of completion of each delivery package and
           Topalsson’s entitlement to payment under clause 26 of the Agreement are as follows:


             DP         Description                        Contract Price € % Assessed   Value €


             1          Analysis and alignment                    272,903 100            272,903


             2          Initial back end and rule                 885,749 40             354,300
                        engine


             3          POS Configurator                        1,314,025 30             394,208


             4          Web Configurator                          970,151 30             291,045


             6          Ordering integration                      257,736 0                     0


             7          Pricing integration                       161,234 0                     0


             10         3D     data          preparation        2,393,318 10             239,332
                        process


             13         Operation and maintenance               2,794,885 0                     0




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             TOTAL                                               9,050,001                     1,551,787




  339.     From that sum must be deducted the sum of €757,028 paid to Topalsson against the
           invoice of October 2019, leaving a balance due of €794,759.

  340.     It is unnecessary to bring into account the unpaid invoice submitted to RRMC, invoice
           1013919 in the sum of €180,744, because it related to work done on DP1 and DP10,
           the value of which has been included in the assessment set out above.

  Sums due to RRMC

  341.     As set out above, the Agreement contains a cap on liability in the sum of €5 million.
           Therefore, RRMC does not have to prove the full value of every item in its quantum
           claim, provided that it establishes an entitlement to damages of at least that sum.

  342.     The quantum of RRMC’s claim for damages is set out in Appendix 1 to its pleaded
           case, as amended by Mr Osborne’s expert report, and comprises the following claims:

           i)        Interim measures to the mitigate Topalsson’s failure to deliver key functionality
                     (€2,387,186):

                     a)         additional third party costs to stabilise and upgrade an existing
                                configurator landscape pending implementation of a new system
                                (€739,572);

                     b)         additional third party costs to create an alternative launch visualiser tool
                                for events and dealers in place of the Closed Room Configurator that
                                Topalsson was due to deliver (€1,281,365);

                     c)         additional internal costs to stabilise, upgrade and maintain the fall-back
                                solution (until the new solution is available) and to use the legacy
                                configurator landscape (€366,249).

           ii)       Procurement of the system landscape that Topalsson contracted to deliver
                     (€13,116,776):

                     a)         internal cost to set up and manage a new tender and set-up a new solution
                                for the configurator landscape (€359,326);

                     b)         estimated additional costs for a replacement solution (€6,790,880);

                     c)         on-going costs to develop the EVE visualiser fallback solution
                                (€5,966,570).

           iii)      Sums which it is claimed should be included in assessing replacement system
                     costs (€1,564,325):

                     a)         AWS Cloud incurred and on-going costs until 30 November 2022;



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                     b)         ordering integration;

                     c)         penetration test;

                     d)         CRIS/CoSy interface adaption;

                     e)         estimated project costs of RRMC;

                     f)         payments made to Topalsson.

           iv)       Loss of profits on option sales (€1,601,082). As a result of the termination for
                     repudiatory breach, it is said that there were reduced option sales (i.e. paid
                     customisation of vehicles) because there was no new feature imagery for the
                     dealers to use with the existing ordering configurator (period affected August
                     2020 through April 2021).

  Interim measures (€2,387,186)

  343.     As a matter of principle, reasonable costs incurred in mitigating the loss suffered as a
           result of the breach are recoverable. Clause 13.11.5 expressly entitled RRMC to recover
           any loss and additional costs incurred in performing the relevant services or purchasing
           substitute services from a third party. Mr Osborne has checked and confirmed that the
           sums claimed were in fact incurred. Ms Biot has explained the basis on which the sums
           are claimed as damages and confirmed that any costs relating to work for BMW that
           were initially included erroneously have now been removed.

  344.     The stabilisation and upgrading of the existing Configurator landscape was carried out
           by Sulzer, supplier of the same, to ensure that RRMC could continue to use it until a
           permanent alternative system could be developed. The work included security updates
           and support upgrades, front end updates, performance updates, back end charges, CoSy
           imagery preparation for all models, PuMa updates, and 3D modelling and CoSy
           preparation for all model feature updates for 2021 and 2022.

  345.     The fallback solution, an alternative launch Configurator tool, EVE, was based on a
           visualiser tool developed for BMW and mini dealers by Mackevision, who were
           existing suppliers of 3D models to RRMC prior to the Agreement and continued to
           work as suppliers of 3D models to BMW Group. EVE was not a full Configurator but
           was used at the postponed Ghost launch events which took place at the end of May and
           June 2020 and was subsequently rolled out to dealers worldwide. Topalsson objects to
           such claim on the basis that RRMC committed to incur at least part of these expenses
           before terminating the Agreement. I reject that argument. RRMC was entitled to take
           steps at its own risk to ensure that it had a fallback position in the event that Topalsson
           failed to deliver the software in accordance with its obligations under the Agreement.
           As recognised by RRMC, if Topalsson had complied with the March Plan, such costs
           would not have been recoverable. In the event, Topalsson failed to deliver in accordance
           with the March Plan and these costs are recoverable as reasonable steps taken in
           mitigation of its loss.

  346.     The internal staff costs relate to Ms Biot’s assessment of the costs of RRMC staff
           diverted from revenue-generating activities to implement the fallback solution. Ms Biot
           and Dr Poser confirmed that the costs of BMW staff were recharged to RRMC.



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  347.     I am satisfied that these costs were incurred by RRMC in reasonable steps of mitigation
           and therefore are recoverable as damages or termination costs.

  Procurement of the replacement solution (€13,116,776)

  348.     Mr Osborne’s estimate of the additional costs of the replacement solution is based on
           the second lowest technically compliant bid, as identified in the Technical
           Recommendation, less the value of the Agreement, to which a discount rate of 5.18%
           must be applied to determine the net present value of the loss. This gives a loss of
           €5,055,796. Using Ms Biot’s estimated costs of a replacement system, based on
           RRMC’s target solution, would give a higher total of €6,790,880.

  349.     Pending the replacement solution, RRMC will incur ongoing costs in maintaining and
           upgrading the fallback solution, EVE. Ms Biot’s estimate of these ongoing costs, after
           applying the discount of 5.18%, gives a figure of €5,966,570.

  350.     Ms Biot has calculated the internal staff costs of re tendering and setting up the
           replacement solution. The figures have been checked and corrected by Mr Osborne to
           give the figure of €359,362.

  351.     Ms Biot has explained the new solution in her second statement:

                     “The target solution is to fully include RRMC in the BMW/Mini
                     system landscape. This will allow us to fully benefit from central
                     IT support, future developments and make use of efficiencies.
                     The full integration in the target solution can however (due to
                     capacity restrictions) only start in 2025. It is therefore necessary
                     to put in place an intermediate solution to mitigate the massive
                     risks we have with the existing solution (which is outdated and
                     unstable …) and to support with the launch of the new Spectre
                     (a new fully electric vehicle due to be communicated in
                     September 2022). The intermediate solution effectively involves
                     building a back-end based on BMW’s systems which will be
                     fully integrated later, and a front-end which operates from the
                     start within the BMW landscape, which I explain further below.

                     The back-end for the intermediate solution (which is broadly
                     equivalent to Delivery Packages 2 and 13 as should have been
                     delivered by Topalsson under the Contract) will be made up of
                     the following elements, all of which are new systems, based
                     however on existing BMW systems and implemented with
                     support of the respective BMW departments and their suppliers.

                     …

                     The target is to eventually integrate RRMC into the respective
                     BMW systems, until then we will use these 3 Back-end
                     solutions. This is however not sustainable over a long period of
                     time, because it would require us to keep all of these systems in
                     sync with the parallel BMW systems, over a longer period of
                     time as the BMW systems are regularly updated, improved and



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                     expanded. This would need very high effort, and would be very
                     costly and error prone.

                     Meanwhile, the new front-end systems will be developed within
                     the existing BMW Configurator landscape …

                     The front-end elements described above are comparable to
                     Delivery Packages 3, 4, 6, 7, and 13, as should have been
                     delivered by Topalsson, but will not be built from scratch –
                     rather, the RRMC specific logic, requirements and User
                     Interface will be integrated and/or added in the existing BMW
                     systems. Overall all elements build on each other and there are
                     strong interdependencies. One will not work without the other.

                     …

                     Due to the significant time needed to define and develop the new
                     front- and back-end solutions, they will not be ready for Start of
                     Communication of the new Spectre model (Sep 2022). It is
                     therefore essential that we redesign and further develop the EVE
                     Visualiser (the fallback solution put in place after Contract
                     termination) to be used online to support the Spectre launch.

                     …

                     The anticipated timeline for the new project is as follows:

                     a. The go-live date for the WEB Visualiser is September 2022 to
                     support the Spectre Launch, The Web Configurator will be
                     released in 3 phases (March, September and December 2023),
                     with go-live for the new ordering systems being September2023,
                     to coincide with the Start of Ordering for a new model launch.

                     b. The existing legacy system and infrastructure (RROC and
                     RRMC) will be retired in October 2023.

                     c. Between 2023 and 2025, there will be integration of the
                     RRCP, RR Datafox and RR Pip Services functionality into the
                     respective BMW systems. Between 2025-2027 the final
                     integration in the overall BMW Configurator landscape with
                     respective back-end systems will take place.”

  352.     There are a number of difficulties with this part of the claim.

  353.     Firstly, the new solution is not comparable to the project which Topalsson agreed to
           undertake; it is more comparable to the hybrid solution, which would have been more
           expensive and which was not selected by RRMC. The proposed replacement is not a
           standalone configurator but will be integrated into the BMW/Mini system landscape.
           Clearly this will involve significant betterment but insufficient details are available for
           any assessment to be made in this regard.




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  354.     Secondly the new solution will not be available until 2025, in circumstances where the
           Agreement imposed a compressed timetable for delivery in 2019-2020, termination
           occurred in April 2020 and the term of the Agreement would have ended, if not
           terminated, on 31 December 2024. Although this is not an automatic barrier to recovery
           of damages based on a replacement solution, it is relevant that the delay in
           implementing the solution has not been caused by Topalsson or any impecuniosity on
           the part of RRMC. The reason for delay is the strategic decision to adopt a different
           approach by finding a solution that can be integrated with the BMW landscape. In those
           circumstances, it is not open to RRMC to claim all its losses during the full period of
           this delay.

  355.     Thirdly, the costs of maintaining and further developing the EVE visualizer are needed
           to support the launch of the new Spectre model but only as a result of the strategic
           decision to invest in a new solution that is not yet implemented. Recovery of these costs
           in addition to the costs of replacement would amount to double recovery; alternatively
           these costs do not constitute reasonable mitigation of RRMC’s losses.

  356.     Weighing up the evidence on this issue, I conclude that RRMC has established a good
           case for recovery of the estimated costs of a replacement system that is comparable to
           the solution which Topalsson undertook to supply. However, it would not be reasonable
           for RRMC to recover the costs of a replacement system that is substantially different
           from the benefit expected under the Agreement. Therefore, Mr Osborne’s estimate
           based on the second lowest technically compliant bid is appropriate. Further, it would
           not be reasonable for RRMC to recover the estimated costs of maintaining and further
           developing the EVE visualiser fallback solution in addition to the costs of a replacement
           system as that would go beyond compensation for losses caused by the termination.

  357.     For those reasons, RRMC’s entitlement under this heading is limited to the estimated
           costs of replacement, together with the associated internal tendering and project costs,
           a total of €5,415,158.

  Costs incurred by RRMC in respect of the original project (1,564,325)

  358.     I address these additional costs briefly because, having regard to my findings above,
           they do not affect the financial outcome of this case. Mr Osborne has checked and
           confirmed that the sums claimed were in fact incurred. The costs at items (a) to (d) are
           recoverable as costs incurred by RRMC for which they received no benefit as a result
           of the termination. RRMC’s wasted internal project costs are not recoverable because
           they would amount to double recovery, given the damages for a replacement system.
           Payments to Topalsson have been brought into account in assessing the sums due to
           Topalsson as set out above. Therefore, I find that RRMC is entitled to €159,979.

  Loss of profits on option sales (€1,601,082)

  359.     I address this claim briefly because, having regard to my findings above, it does not
           affect the financial outcome of this case. Mr Scott explained that it was very difficult
           to estimate the impact of the lack of a new state of the art Configurator on overall sales
           of vehicles but RRMC endeavoured to assess the area of most impact, the loss of sales
           of new options launched in May which entered production in August 2020 and calculate
           losses until April 2021.




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  360.     Mr Scott stated that although RRMC put a fallback visualiser tool in place following
           termination of the Agreement, it did not incorporate imagery for significant new options
           launched at the start of May 2020 across the Rolls-Royce model range. The lack of a
           configurator meant that dealers were unable to demonstrate to customers how their
           vehicle would look with these various new available customisable options, and were
           unable to hit the targets which RRMC had set for sales of these options. He measured
           the impact of the lack of the new configurator by comparing the profit contribution
           made on RRMC’s actual sales on the new options in the three months following the
           launch of those options with the sales targets for that period.

  361.     Mr Gellatly, whose role involves the management of the team responsible for the
           marketing and sale of bespoke features available on Rolls-Royce vehicles, supported
           RRMC’s claim that sales figures of the options were lower in 2020 because dealers
           could not show the new features to customers when they were purchasing a new vehicle.
           The sales figures for 2020/2021 showed that sales of the options started to pick up in
           the quarter following August-September 2020, once RRMC was able to put in place the
           fallback solution demonstrating these features.

  362.     In cross-examination Mr Osborne agreed that the planned take rates were projections
           or estimates and therefore subject to error. The relatively low volumes of vehicles sold
           would increase the risk of error and exacerbate the sensitivity of the projections to
           external factors, making it very difficult to predict with any accuracy. He accepted that
           it would have been preferable to have tested the accuracy of the business target rates by
           reference to historical data but such data was not available. He also agreed that
           potentially there were other factors that could affect the take rates but for the purpose
           of his report he assumed that all effects were caused by the lack of a configurator.

  363.     Topalsson raises a number of objections to this claim which I find are well made.
           RRMC has failed to provide accounting information, such as management accounts,
           which Mr Osborne agreed could support the lost profit assessment. Further, Mr Gellatly
           accepted in cross examination that setting the planned take rates was not a science and
           he struggled to explain the fact that take rates for several of the options fell within the
           set margin of +/- 10% despite the absence of the configurator. Finally, it was conceded,
           properly, that it is likely that COVID affected customer behaviour in 2020-2021 but
           RRMC has not produceD any analysis of this impact.

  364.     These difficulties lead me to find that on the balance of probabilities this claim has not
           been established.



  Net sum due to RRMC

  365.     From the above findings, the net sum due to RRMC as termination damages is: (i)
           interim measures in mitigation of €2,387,186; (ii) estimated replacement costs of
           €5,415,158; and (iii) wasted costs incurred in respect of the project of €159,979; a total
           of €7,962,323; less the sum due to Topalsson of €794,759, leaving a balance of
           €7,167,564.

  Application of the cap




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  366.     The sum due to RRMC is in excess of the contractual cap of €5 million. The cap applies
           and therefore, RRMC is entitled to damages in the sum of €5 million.

  Interest

  367.     Clauses 14.11 and 14.12 of Section 7 of the Agreement stipulate:

  368.     Clause 14.11:

                     “Each Party may charge simple interest at the rate of 4% per
                     annum above the Bank of England base rate from time to time
                     compounded at monthly intervals from the due date for such
                     payment until actual date of payment…”

  369.     Clause 14.12:

                     “Each Party agrees that any interest that is payable under clause
                     [14] is a substantial remedy for late payment of any sum payable
                     under this agreement for the purposes of section 8(2) of the Late
                     Payment of Commercial Debts (Interest) Act 1998 and shall be
                     the sole remedy available to the Party entitled to interest for late
                     payment whether in contract, tort or restitution or otherwise.”

  370.     On their face, these provisions are in wide terms, they apply to both parties and are apt
           to cover all payments due under the Agreement, including termination costs. The court
           has now determined that payments are due to RRMC as set out above. For those
           reasons, the agreed interest provisions are the appropriate basis on which to award
           interest in this case.

  Issue 7 – Intellectual Property Issues

  371.     The following matters arise for determination by the court:

           i)        Topalsson’s claim for a declaration that on a proper construction of clause 13.10
                     of section 7 of the Agreement, RRMC is not entitled to make any use of any
                     Deliverables, save for those limited artefacts for which RRMC has paid.

           ii)       Topalsson’s claim for an order for delivery up or destruction of all copies of
                     Supplier Software in RRMC’s possession.

           iii)      RRMC’s claim for an order for delivery up or destruction of all copies of
                     Bespoke Software and other property in Topalsson’s possession.

  Deliverables

  372.     Topalsson seeks a declaration that on a proper construction of clause 13.10 of section
           7 of the Agreement, RRMC is not entitled to make any use of any documents, products
           or materials developed by Topalsson, including any drawings, plans, diagrams,
           pictures, computer programmes, data, reports or specifications, save for those limited
           artefacts for which RRMC has paid.




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  373.     RRMC’s position is that clause 23.1 of Section 7 prevails and provides that all right,
           title and interest including all intellectual property rights to the Deliverables and any
           other product of the services shall immediately upon their creation vest in RRMC.

  374.     Deliverables were defined in Section 6 of the Agreement as:

                     “the goods or services or other things to be delivered to RRMC
                     or BMW Group as deliverables as a product of the Services, with
                     such deliverables including RRMC data and those deliverables
                     set out in Section 2 … and all documents, products and materials
                     developed by RRMC or its agents, contractors, consultants and
                     employees in relation to the provision of the Services in any
                     form, including drawings, plans, diagrams, pictures, computer
                     programs, data, reports and specifications (including drafts of the
                     same).”

  375.     It is apparent from the above definition that Deliverables comprised the documents,
           goods, materials and information to be provided by Topalsson under the Agreement. It
           does not appear to include software developed by Topalsson, whether falling within the
           definition of Supplier Software or Bespoke Software.

  376.     Regardless whether Supplier Software or Bespoke Software might fall within the
           definition of Deliverables, intellectual property rights in such software is expressly
           covered by the provisions set out in clauses 5 and 6 of Section 2 which take precedence
           and are addressed below.

  377.     Clause 23.1 of Section 7 provided:

                     “All right, title and interest including all Intellectual Property
                     Rights that are legally capable of being assigned under
                     Applicable Law in and to the Deliverables and any other product
                     of the Services shall immediately upon their creation vest in
                     RRMC. Accordingly the Supplier hereby assigns to RRMC with
                     full title guarantee all such Intellectual Property Rights that the
                     Supplier has now or may have in the future throughout the world
                     to RRMC absolutely so far as possible in perpetuity.”

  378.     Clause 13.10 provided that:

                     “Title to the Deliverables passes to RRMC on payment.”

  379.     That must be a reference to payment in accordance with the terms of the Agreement. In
           the quantum section above, I have set out my findings as to the value of work done by
           Topalsson as at the date of termination and that value has been included in the
           accounting exercise required under the Agreement. It follows that payment in
           accordance with the Agreement has been made in respect of the Deliverables provided
           to RRMC and title has passed to RRMC.

  Supplier Software




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  380.     Topalsson’s case is that on termination of the Agreement, RRMC's right to make any
           use of the Supplier Software ceased. Clause 24.7 of section 7 of the Agreement
           prohibited RRMC from making any adaptations or variations to the Supplier Software
           without consent and clause 24.8 prohibited any disassembly, de-compilation, reverse
           translation or any other form of decoding save as permitted by law. It follows that
           RRMC has no legitimate use for any copies of Topalsson’s software in its possession
           and any copying of the same would amount to infringement of its copyright. On that
           basis, an order for delivery up or destruction of all copies of Topalsson’s software in
           RRMC’s possession is sought.

  381.     Clause 5 of Section 2 defined Supplier Software as follows:

                     “Supplier Software (all of which shall be deemed to be
                     “Licenced Software” pursuant to clause 22 of Section 7 of this
                     Agreement) means all hardware and software provided by the
                     Supplier to RRMC to provide the Services including the Supplier
                     Hardware, Supplier Standard Software, Third Party Software,
                     Modified Software (Supplier), Modified Software (Third Party)
                     and Supported Software including but not limited to those listed
                     below:

                     5.1 DTE (Digital Twin Engine) Software – Version 2019 (R6)
                     …

                     5.2 TWIN Software – Version 2019 (R6) …

                     5.3 SOLOGIC Software – Version 2019 (R6) …

                     For the avoidance of doubt and notwithstanding any other
                     provision of this Agreement the Intellectual Property Rights in
                     any Supplier Software used or created by the Supplier in
                     providing the Services, including but not limited to any
                     modifications or improvements to such Supplier Software, will
                     be owned by the Supplier or any relevant third party licensor.

                     The Supplier hereby grants a non-exclusive, revocable, global
                     licence to BMW Group to use the Supplier Software for the Term
                     for usage solely in connection with the design of Rolls Royce
                     model vehicles (and not for the avoidance of doubt for vehicles
                     in the wider BMW Group that are not branded as Rolls Royce).”

  382.     RRMC’s position is that the software supplied by Topalsson is not functional and none
           of it is of use. It has admitted that RRMC is not entitled to make use of or copy the
           Supplier Software and RRMC confirmed by letter dated 12 August 2020 that it is not
           using, and does not intend to use, the Supplier Software.

  383.     In paragraph 77.5 of the Re-Amended Defence and Counterclaim RRMC has offered
           the following undertaking:

                     “the Defendant undertakes to destroy all copies within its
                     possession or control of the Supplier Software (for avoidance of



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                     doubt, subject to the preservation of the Defendant’s Software)
                     under oath, after steps have been taken to ensure to the proper
                     preservation and inspection of evidence. Such steps should be
                     capable of agreement by consent and are best considered during
                     the disclosure stage. In the meantime, the Defendant undertakes
                     not to make any commercial use of the same.”

  384.     On the basis of the above, there is no dispute about the status of the Supplier Software.
           RRMC’s undertaking can be incorporated into the final order made in these
           proceedings.

  Bespoke Software

  385.     RRMC’s case is that it has retained all right, title and interest, including all intellectual
           property rights in Bespoke Software, the Deliverables and any other product of the
           Services. It seeks orders for delivery up and/or destruction of the property requested by
           letter dated 3 September 2020 and all copies of RRMC’s software in Topalsson’s
           possession. It has confirmed that it does not seek destruction or delivery up of any
           Supplier Software.

  386.     I have found that payment in accordance with the Agreement has been made in respect
           of the Deliverables provided to RRMC and title has passed to RRMC. Therefore, it is
           entitled to delivery up or destruction of any such material held by Topalsson.

  387.     Clause 6 of Section 2 defined Bespoke Software as follows:

                     “Bespoke Software means any software created pursuant to the
                     terms of this Agreement to be used by RRMC solely in relation
                     to RRMC products, including but not limited to those software
                     listed below:

                          •     Bespoke TWIN RRMC Plugin/extension to read RRMC
                                data

                          •     Bespoke DTE RRMC POS Plugin/extension for specific
                                RRMC POS use

                          •     Bespoke SOLOGIC RRMC Plugin/extension to read
                                RRMC data.

                     For the avoidance of doubt, and notwithstanding any other
                     provision of this Agreement, the Intellectual Property rights in
                     any Bespoke Software shall be owned by RRMC and RRMC
                     shall grant the Supplier an exclusive licence to use the Bespoke
                     Software for the purpose of providing the Services for the
                     duration of the Term of this Agreement.”

  388.     Clause 23.8 of Section 7 provided:

                     “All right, title and interest including Intellectual Property
                     Rights in and to all BMW Group background IPR, RRMC



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                     materials and RRMC Data is vested in and shall remain vested
                     in BMW Group.”

  389.     Clause 26.4 of Section 7 provided:

                     “Unless otherwise expressly authorised by RRMC the Supplier
                     shall cease using, return and deliver to RRMC all physical and
                     non-physical property that belongs to RRMC including all
                     RRMC’s Confidential Information, RRMC Materials, all RRMC
                     Data, all RRMC Personal Data and all other documents and
                     materials and copies thereof in the possession, power, custody or
                     control of the Supplier.”

  390.     It is admitted by Topalsson that it is not entitled to make use of or copy the Bespoke
           Software, including the data and materials identified in clause 23.8 of section 7.

  391.     In paragraph 143.1 of the Reply Topalsson has offered the following undertaking:

                     “the Claimant hereby undertakes to destroy under oath all copies
                     of materials to which clause 23.8 of Section 7 applies that are
                     within its possession or control, after steps have been taken to
                     ensure the proper preservation and inspection of evidence. Such
                     steps should be capable of agreement by consent and are best
                     considered during the disclosure stage. In the meantime, the
                     Claimant undertakes not to make any commercial use of the
                     same.”

  392.     In its closing submissions, it goes slightly further, accepting that it has no right to use
           RRMC-specific data. On the basis of the above, an appropriate undertaking can be
           incorporated into the final order made in these proceedings. However, there is a dispute
           as to the categorisation of software as Bespoke Software (as distinct from Supplier
           Software or Deliverables).

  393.     Bespoke Software does not automatically cover all Deliverables within the meaning of
           the Agreement but also is not confined to the specific software identified in clause 6 of
           section 2 above, which was expressed to be an inclusive, rather than exclusive list.

  394.     Dr Hunt performed a code review to try and identify code that was bespoke for RRMC’s
           use or contained RRMC data or intellectual property. The results of this exercise are set
           out in Appendix F of her first report. However, in cross-examination, she confirmed
           that she did not ask for, or have access to the source code and therefore her review was
           limited to identified items that contain Bespoke Software and RRMC data or
           intellectual property; that description did not necessarily apply to the whole folder.

  395.     This was not the subject of discussions or joint statements between the IT experts and
           there has been no detailed investigation at trial as to which sections or lines of code
           were Bespoke Software or Supplier Software. As a result, the court is not in a position
           to make any order for delivery up or destruction of specific software and the remedy is
           confined to a declaration.

  Conclusions



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  396.     For the reasons set out above:

           i)        Topalsson was obliged to deliver and install the software in accordance with the
                     March Plan, which was contractually binding on Topalsson and made time of
                     the essence in respect of the revised dates agreed;

           ii)       Topalsson failed to comply with the March Plan:

                     a)         Topalsson failed to achieve Technical Go-Live in respect of early IVT
                                by 9 March 2020;

                     b)         Topalsson failed to achieve Technical Go-Live in respect of the Closed
                                Room configurator by 1 April 2020 or thereafter;

                     c)         Topalsson failed to progress the sprints and testing so as to be able to
                                achieve Technical Go-Live in respect of CRIS by 23 April 2020;

           iii)      Topalsson was not impeded in its performance, or prevented from performing
                     its obligations by RRMC;

           iv)       RRMC was entitled to terminate under clause 13.11.3 of Section 7 of the
                     Agreement and at common law on the ground of Topalsson’s repudiatory or
                     anticipatory breach;

           v)        RRMC has failed to establish any actionable claim for misrepresentation;

           vi)       RRMC is entitled to damages in the sum of €5 million plus interest at the rate
                     of 4% per annum above the Bank of England base rate from time to time
                     compounded at monthly intervals from the due date for such payment until
                     actual date of payment;

           vii)      the parties are entitled to orders for delivery up and/or declaratory relief in
                     respect of the intellectual property issues as set out above.

  397.     Following hand down of this judgment, the hearing will be adjourned to a date to be
           fixed for the purpose of any consequential matters, including any applications for
           interest, costs or permission to appeal, and any time limits are extended until such
           hearing or further order.




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